Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 1 of 49 PageID# 1914




            Gould
           Exhibit F
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 2 of 49 PageID# 1915




               LIGHTING UP NEW MARKETS
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 3 of 49 PageID# 1916
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 4 of 49 PageID# 1917




Contents
Contents
4       Introduction
        Plácido Domingo, Chairman, IFPI                   24Long Live the Record Label
                                                          	Daft Punk: A physical campaign in the digital world
        Frances Moore, Chief Executive, IFPI                Avicii: From club DJ to global superstar
                                                            Hunter Hayes: The YouTube orchestra

6 Facts, Figures and Trends
  Streaming and subscriptions surge
                                                          	Passenger and the Embassy of Music
                                                            Engaging fans in social networks in Brazil
  A diverse global market                                 	Katy Perry: A global phenomenon
  A mixed economy of revenue streams                      	Tommy Torres: Harnessing the power of Twitter
  Revival in Scandinavia
  US stabilises as Europe grows
  Lighting up developing markets                          34        Sweden: A Market Transformed
                                                                    A return to growth
	Attracting consumers to licensed services                         A continuous revenue stream
                                                                    Growing diversity

12      Most Popular Artists of 2013
        Top selling global albums
                                                                    What next in Sweden?


        IFPI Global Recording Artist Chart
        Top global singles                                36         hina: New Hopes for a Licensed Music Market
                                                                    C
                                                                    Moving to the paid model
        The importance of local repertoire                          Tackling piracy



16       ighting Up New Markets and Models
        L
        The move to mobile                                38        Africa: Emerging Opportunity
                                                                    Digital services being established
        Access & ownership                                          Expanding A&R activity
        The rise and rise of streaming and subscription
        More discovery, more from mobile
        Streaming: “A sustainable income”                 40        Improving the Environment for Digital Music
                                                                     Consumer attitudes to piracy
        Monetising music video                                       Website blocking proves effective
        Internet radio — looking globally                            vKontakte: Stifling a licensed business in Russia
        Engaging in emerging markets                                 Stopping payments to pirate services
        isps leverage the value of music: kpn-Spotify                Cutting off advertising revenue
        Rapid digital growth in Latin America                        Search engines still have more to do
        Local services thrive in Asia                                Infringing links dominate search results
        Russia shows potential                                       Legal action against piracy
        KKBOX: Asia’s local service fights its corner                UK’s City of London Police: Tackling crime online



                                                          44        Digital Music Services Worldwide




                                                             This report includes new findings from a consumer study carried out
                                                             by Ipsos MediaCT, commissioned by IFPI.

         www.ifpi.org                                        © IFPI 2014
         @ifpi_org                                           All data, copy and images are subject to copyright and may not be
         Designed by design to communicate                   reproduced, transmitted or made available without permission from IFPI.



                                                                                                                                       3
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 5 of 49 PageID# 1918




Introduction
Introduction


                                                  PlÁcido domingo
                                                  chairman, ifpi




The technology changes: the music remains
I am very pleased to introduce IFPI’s latest Digital Music            governments around the world play their part in making sure
Report which gives an excellent overview of how the music             the laws that protected creators in the physical delivery age are
industry is investing and adapting in the digital world. I am now     updated for the digital delivery age.
in my third year as chairman of IFPI and during this time I have          This is the message I try to convey when I travel the world
been able to witness close up the amazing transformation of our       and talk to senior politicians.
music industry.                                                           Copyright provides the basis of the modern digital music
   My career in music has spanned more than four decades.             marketplace. Confidence in copyright enables rights holders to
The first recordings of my work were available on vinyl LPs or        license exciting new services that music fans love.
cassettes that had to be listened to on a record or tape player.          There are 37 million songs available today on these leading
Today, my music is available on a huge range of digital services.     digital services. To listen to them all would take a lifetime. That is
   People can listen to an opera as they go about their               a source of cultural enrichment that we could not have dreamed
everyday lives. They can constantly discover new music on             of when I was a young artist beginning my career. We must
recommendation services. They can engage with artists on social       build on this success to create a genuinely sustainable digital
networks. We no longer rely on physical delivery of the music we      marketplace that will continue to fund investment in artists so
love to hear.                                                         that more great music can be created.


“Copyright provides the basis of the modern
 digital music marketplace.”

    This new digital world has brought great new ways to access
culture. At the same time, technological change has forced us to
ask a fundamental question — what does this mean for copyright
and the rights of creators?
    The answer is clear: while the formats have changed, the
music remains. In a world of constant change, music is something
of lasting value.
    I want to see a digital world that provides young artists with
the kind of opportunities I was fortunate enough to have early in
my career. Artists still need to be able to benefit from investment
by record companies to build a career. That can only happen if



4
                                      Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 6 of 49 PageID# 1919




                                                                                          Frances Moore
                                                                                          Chief Executive, IFPI




                                      The digital music business is on the move and lighting up new markets
                                      IFPI’s Digital Music Report 2014 shows a fast-changing, dynamic          business is moving to unlock it. Most of these territories are seeing
                                      and optimistic global music industry. Recorded music revenues            internet and mobile music penetration soaring, with rising demand
                                      in most major markets have returned to growth. Streaming and             for handheld devices. The great news is that a wide variety
                                      subscription services are thriving. And digital music is moving          of licensed music services are available to meet this demand.
                                      into a clearly identifiable new phase as record companies, having        Emerging music markets also need new ways of thinking in the
                                      licensed services across the world, now start to tap the enormous        digital world, particularly in countries with undeveloped payment
                                      potential of emerging markets.                                           systems and low credit card usage.
                                          There was a lot of good news in our industry in 2013 —                   It is early days, but in this report you can read about some
                                      albeit with some less good news as well. The US music market             of the early signs of progress. In China, we are licensing music
                                      continued to stabilise, growing slightly in trade revenue terms,         services and bringing huge numbers of consumers into the digital
                                      helped by rising consumer demand for music streaming services.           marketplace. Record companies are stepping up their activity in
                                      Europe returned to growth after 12 years, its top five markets           Africa as technology offers the opportunity to reach many
                                      seeing revenues up. In Japan, however, the world’s number two            consumers for the first time. In Latin America, labels are
                                      music market, falling revenues had a significant negative impact on      licensing services in innovative ways such as pre-paid deals and
                                      what was otherwise a largely positive global picture.                    special daily subscriptions packages, aimed to reach the widest
                                          New services with big global ambitions are launching, such as        possible audience.
                                      Beats and iTunes Radio — services that we hope will soon spread
                                      around the world. Meanwhile, the existing international services,
                                                                                                               “There is a pioneering spirit among record
                                      such as Deezer, Google Play, iTunes, Spotify and YouTube are
                                      generating income in many new markets following their global              companies as they expand into these new
                                      expansion. The competition is intense and consumer choice is              territories.”
                                      ever-widening — these are very positive dynamics in the
                                      development of the digital music landscape.
                                                                                                                   None of these exciting developments changes the fact that
                                          It is now clear that music streaming and subscription is a
                                                                                                               there is still one overriding obstacle to market development in
                                      mainstream model for our business. In 2011, there were eight
                                                                                                               most emerging markets — and that is rampant digital piracy. This
                                      million paying subscribers to subscription services — today there
                                                                                                               is a top priority for IFPI and our national groups around the world.
                                      are 28 million. Ad-supported and subscription streams are rising
                                                                                                               Our focus on creating a fair playing field, supported by strong laws
                                      in most markets, helping grow overall digital revenues for record
                                                                                                               and effective enforcement, remains undiminished.
                                      companies and artists.
                                                                                                                   This report shows an industry on the move. Most of our major
                                          The music industry has become a mixed economy of diverse
                                                                                                               traditional markets have stabilised and the challenge now is to tap
                                      consumer channels and revenue streams. This has been an
                                                                                                               the huge potential of emerging markets and achieve sustainable
                                      amazing transformation, dramatically expanding the way artists
                                                                                                               year-on-year global growth. As the digital entertainment
                                      reach their fans across the globe. Reflecting this shift, IFPI has
                                                                                                               revolution moves from one phase to the next, the music business
                                      launched its Global Recording Artists Chart, which highlights the
Frances Moore Photo by Graham Flack




                                                                                                               continues to lead the way for other creative industries.
                                      success of artists across physical sales, downloads and streaming.
                                      The chart, launched in 2014, is a new metric of success reflecting
                                      the popularity of artists across the various ways consumers enjoy
                                      music. Congratulations to One Direction for being the first act to
                                      top this unique new chart.
                                          These are all positive developments which, to some degree,
                                      extend the industry’s achievements of the last few years in our
                                      core markets. But this report goes further: it also shows how
                                      digital music, on a global scale, is going to the next level. Emerging
                                      markets have huge potential, and, through digital, the music



                                                                                                                                                                                  5
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 7 of 49 PageID# 1920




FACTS, FIGURES
       FIGURES
AND TRENDS
AND TRENDS

    T
             he music business continues to expand into new markets
             and create new business models, attracting more users
                                                                                                US$
                                                                                               5.9Bn
             to digital music services and bringing artists to a wider




                                                                                               5.9Bn
             global audience.
        The industry’s digital revenues grew by 4.3 per cent in 2013 to
    US$5.9 billion. There was steep growth in both revenues and user
    numbers for subscription services, continued revenue growth from
    ad-supported services and stable income from download sales in
    most markets. Globally, digital now accounts for 39 per cent of total                           the industry’s
    industry global revenues and in three of the world’s top 10 markets,                       digital revenues in 2013
    digital channels account for the majority of revenues.
        Overall, recorded music revenues grew in Europe and Latin
    America and continued to stabilise in the US, growing 0.8 per cent




                                                                                                 39%
                                                                                                 39%
    in trade terms¹. Music sales on a global scale, however, were sharply
    influenced by a steep 16.7 per cent fall in Japan, the world’s second
    largest market. Outside Japan, global music revenues were down
    0.1 per cent; including Japan, they fell 3.9 per cent to an estimated
    US$15 billion.
                                                                                                 the proportion of the
    1. US recorded music sales are reported in retail terms in the US while IFPI’s global      industry’s revenues from
    figures are reported in terms of trade value. US revenues declined 0.5% in retail value         digital channels




Figure 1: Global digital revenues 2008 –13 (US$ Billions)
                                                                                                                          Pharrell Williams photo by Mimi Valdes




                                                                                        5.9
                                                                       5.6
                                                      5.1
                    4.4              4.6
    4.0




    2008            2009             2010             2011             2012             2013

Source: IFPI



6
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 8 of 49 PageID# 1921



Streaming and subscriptions surge
Subscription services, part of an increasingly diverse mix of        of music. This reflects in the growing share of subscription and
industry revenue streams, are going from strength to strength.       streaming revenues as a percentage of digital revenues globally.
Revenues from music subscription services — including free-          The industry now derives 27 per cent of its digital revenues from
to-consumer and paid-for tiers — grew by 51.3 per cent in 2013,      subscription and ad-supported streaming services, up from
exceeding US$1 billion for the first time and growing consistently   14 per cent in 2011.
across all major markets.                                                 The digital download model remains a key revenue stream,
   Global brands such as Deezer and Spotify are reaping the          however. Downloads still account for a substantial two-thirds of
benefits of geographical expansion, while regional services          digital revenues (67 per cent) and are helping to propel digital
such as Rdio, KKBOX and WiMP continue to attract new users.          growth in certain developing markets such as South Africa, Hong
New entrants including Beats Music and YouTube launched, or          Kong, Philippines and Slovakia. Downloads have seen a slight
announced plans to launch, subscription services in early 2014.      decline in overall value globally, although digital album sales remain
   The subscription model is leading to more payment for music       on an upward curve as consumers still show strong demand for
by consumers, many of whom appear to be shifting from pirate         owning the album format. Revenues from downloads globally
services to a licensed music environment that pays artists and       fell slightly by 2.1 per cent in value, the decline being offset by
rights holders. The number of paying subscribers to subscription     increases in streaming and subscription revenue to generate
services rose to 28 million in 2013, up 40 per cent on 2012 and      overall digital revenue growth in the majority of markets.
up from only eight million in 2010.                                       Revenue from performance rights — generated from
                                                                     broadcast, internet radio stations and venues — saw strong
“Music has always been at the forefront                              growth. Performance rights income was us$1.1 billion globally in
                                                                     2013, increasing by an estimated 19 per cent in 2013, more than
 of the digital revolution, leading the way
                                                                     double the growth rate in 2012, and accounting for 7.4 per cent
 for other creative industries and defining                          of total record industry revenue.
 the future of digital entertainment. Today                               Income from synchronisation deals, in which music is placed
                                                                     in advertisements, films or television programmes, declined by
 music’s digital revolution is moving to                             3.4 per cent in 2013, and now accounts for 2.1 per cent of total
 the next phase as consumers embrace                                 industry revenue.
 streaming and subscription models in                                     Despite the overall transition to digital, physical music sales
                                                                     still account for a major proportion of industry revenues in many
 markets around the world.”                                          major markets. Gifting and deluxe box sets remain popular while
— Edgar Berger, Chairman and CEO, International,                     vinyl continues to grow as a niche product. Physical formats
Sony Music Entertainment                                             account for more than half (51.4 per cent) of all global revenues,
                                                                     compared to 56.1 per cent in 2012. Although global physical sales
    Revenues from advertising-supported streaming services,          value declined by 11.7 per cent in 2013, major markets including
such as YouTube and Vevo, are also growing — up 17.6 per cent        Germany, Italy, the UK and the US saw a slow-down in the rate of
in 2013. Music video revenues in particular increased as the         physical decline. France’s physical sales increased by 0.8 per cent,
industry extended the monetisation of YouTube to more than           helped by a local repertoire boom which saw French repertoire
50 countries, adding 13 territories in 2013. Vevo has performed      accounting for 17 of the French top 20 albums of 2013.
strongly, hitting 5.5 billion monthly views in December 2013, a           While vinyl sales account for only a small fraction of the
46 per cent year-on-year increase, and attracting 243 million        overall industry revenues, they have seen an increase in recent
unique viewers worldwide.                                            years in some key markets. In the US, vinyl sales increased by
    Record companies have adapted their business to a model          32 per cent in 2013 (Nielsen Soundscan), and in the UK, they
increasingly based on access to music, and not only ownership        increased by 101 per cent in 2013 (BPI).




           51.3%
           51.3%
             increase in subscription
                                                                                     28m
                                                                                     28m paying users of
               streaming revenues                                                     subscription services




                                                                                                                                         7
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 9 of 49 PageID# 1922
                                      Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 10 of 49 PageID# 1923


                                      A diverse global market                      Figure 2: Digital revenue breakdown by format, 2008–2013

                                      Geographically, the world music market

                                                                                                  3% 1%                                                     1%
                                      is highly diverse, with markets growing at
                                                                                                                                                 8%
                                      different speeds and favouring different            6%
                                      consumption models. This is borne out
                                      by consumer research conducted by
                                                                                                                                   19%
                                      Ipsos MediaCT for IFPI in November
                                      2013 (see Figure 3). It shows contrasting
                                      preferences for service types in Germany,    26%                2008                                               2013
                                      UK and US (where downloads are more
                                      popular) and in France, Italy and Sweden                                                       5%
                                      (where streaming is the favoured model).
                                                                                                                           64%                                           67%
                                      A mixed economy of
                                      revenue streams                                Downloads       Mobile       Subscription
                                                                                     Ad-supported streams        Other
                                      Amid the wide variations, there are three
                                                                                   Source: IFPI
                                      perceptible groups of markets: first,
                                      countries in northern Europe, where
                                      streaming and subscription services are
                                                                                   Subscription and ad-supported streaming services
                                      dominating; second, the major markets
                                      of North America and Europe where            have grown from 9% to 27% of digital revenues in
                                      streaming is growing fast but downloads      the last five years.
                                      continue to deliver the major revenue;
                                      and third, a swathe of other countries
                                      including emerging markets, such as
                                      Brazil and Mexico, where both downloads      Figure 3: % Internet users using music subscriptions* / download services
                                      and ad-supported streaming are growing       in past 6 months
                                      rapidly from a lower base.


                                                                                    47

                                                                                                  36
                                                                                                                     32                                     33
                                                                                                                                    23 27           22                   21
                                                                                                                           15                                       12
                                                                                                           9
                                                                                          7
Paula Fernandes Photo by Guto Costa




                                                                                     Sweden          France             Italy          USA             UK           Germany

                                                                                     Subscriptions      Downloads

                                                                                   Source: Ipsos MediaCT       *Also includes free users of subscription services




                                                                                                                                                                              9
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 11 of 49 PageID# 1924


 Revival in Scandinavia




                                                                                                    John de Sohn photo by Gustav Modér Wiking
 Scandinavian countries Denmark, Norway and Sweden are a showcase of
 music industry revival, demonstrating the regenerating potential of the
 streaming model. Sweden’s market grew by 5.7 per cent in 2013, Denmark’s
 grew by 4.7 per cent, and Norway’s by 2.4 per cent (see Figure 4).


 Figure 4: Music market 2008–13 (US$ Millions) in Sweden, Norway
 and Denmark


                                                                    409
                                               392

      361                 361




       2010                2011                 2012                 2013

 Source: IFPI


US stabilises as Europe grows
Digital revenues in the US, the world’s largest digital market, grew by
3.4 per cent in 2013, with digital now accounting for 60 per cent of the US
market. This helped sustain the stabilisation of the US market over recent
years. In 2013 overall US market revenues grew slightly by 0.8 per cent in
trade terms, whilst declining 0.5 per cent in retail value.
    Europe saw digital growth of 13.3 per cent, helping that region post its




                                                                                  13.3%
                                                                                  13.3%
first overall market increase since 2001. Five of the region’s largest markets,
France, Italy, Germany, Netherlands and the UK, returned to overall growth.
    Japan, the world’s second largest national market which accounts for a
fifth of global revenues, is in a challenging phase of transition to digital.
In 2013, sharp declines in physical sales were coupled with declines in legacy
mobile products such as ringtones. Given the relatively recent launch of           digital growth
smartphone-supported download stores, the potential of subscription radio,            in europe
and the expected arrival of more subscription services in 2014, prospects
appear better for the future of the Japanese digital sector. In 2013 there was
sharp growth in subscription revenue (up 204 per cent) and download sales.


“The recorded music business remains challenging — good news includes the growth
 of streaming/subscription, and the continuing explosion of mobile devices means we
 can reach millions of consumers in emerging markets for the first time. The world is
 transitioning at different speeds in different regions and 2013 was a set-back in the world’s
 second biggest market — Japan. In time Japan will bounce back as more digital business
 partners enter this vibrant market.”
— Max Hole, Chairman and CEO, Universal Music Group International



Lighting up developing markets
With the spread of digital services across the world in the last three years,
record companies are intensely focused on the potential of developing
markets. These are territories with a vast potential consumer base but with
little previous retail infrastructure and traditionally high levels of piracy.
Growth is also driven by increasing smartphone penetration, and increasing
investment in local record companies and domestic repertoire.



 10
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 12 of 49 PageID# 1925




                                                                                                  61%
                                                                                                  61%
    Outside the global top 10 markets, 15 territories saw overall growth
in 2013: Argentina, Central America, Chile, Colombia, Denmark, Greece,
Iceland, Netherlands, Norway, Paraguay, Peru, Russia, Sweden, Taiwan
and Venezuela. Some of the emerging economies in this list posted
significant increases in digital revenue, including Argentina (+69 per cent),
Colombia (+85 per cent), Indonesia (+112 per cent), Peru (+149 per cent),
                                                                                             proportion of internet
South Africa (+107 per cent) and Venezuela (+85 per cent). Overall, Latin
                                                                                               users using licensed
America experienced 27.6 per cent digital growth in 2013.
                                                                                              digital music services

Attracting consumers to licensed services
One of the key hallmarks of digital music today is the high level of consumer
                                                                                           “Emerging markets will
awareness and engagement in digital services. Record companies are
licensing a diverse range of services, successfully meeting different                       remain a priority for the
consumer preferences. This is illustrated in research undertaken by Ipsos                   industry because of the
MediaCT across ten leading music markets for this report.
    Now in its second year, the research shows 61 per cent of internet users
                                                                                            sheer size of the opportunity.
aged 16­–64 engaged in some legitimate digital music activity in the past six               The potential of these
months. Among younger consumers (16–24) this figure is higher at 77 per cent.
                                                                                            markets is unlocked by the
    The research also finds that consumer satisfaction with digital services
remains high. Three-quarters of licensed services’ customers (76 per cent)                  widespread adoption of
describe them as “excellent”, “very good” or “fairly good” while even the                   technology and the creation
majority of those using unlicensed services (56 per cent) recognise “there
                                                                                            of models that monetise
are good services available for legally accessing digital music.”
    The findings also identify a range of reasons why consumers choose                      music in ways that fit with
different services, and what qualities of those services they most value.                   local demand for — and
People mainly choose subscription services to discover new music (41 per
cent), with 39 per cent saying they offer a “legitimate environment.”
                                                                                            attitudes towards — music.”
37 per cent like the ability to listen, without having to buy each song.                   — Stu Bergen, President, International,
    The most common reason people use download services is the security/                   Warner Recorded Music
ease of payment (46 per cent), while 41 per cent value the guarantee of
legality and 39 per cent cite “trust” in the company.
    The ability to listen for free (69 per cent), music discovery (46 per cent),
were the main drivers for video streaming services.
    The study also shows that the vast majority of consumers are aware
of the availability of licensed services and the range of choice available.
The table below compares awareness levels in the 10 selected markets
surveyed by Ipsos MediaCT (accounting for the fact that services are not
launched in all those markets).




Figure 5: Consumer awareness of licensed services in 10 selected
markets in 2013


   91

                   73
                                   61
                                                    59
                                                                    40              38




 YouTube          iTunes       Amazon MP3         Spotify          Deezer           Vevo   Imagine Dragons photo by Nick Walker
 Source: Ipsos MediaCT
 Countries where awareness was asked on survey: iTunes – All except South Korea
 Spotify – All except Brazil (launching in 2014), Japan and South Korea
 Vevo – All except Japan and Mexico Deezer – All except Japan, South Korea, Sweden, US
 Amazon MP3 – only Germany, UK, Italy, Japan and US (out of the countries surveyed)



                                                                                                                                     11
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 13 of 49 PageID# 1926




Most popular
     popular
artists of
artists of 2013
           2013


                                                        Figure 6: Top ten best selling albums of 2013
     Top selling global albums
                                                        Rank Album & Artist                        Total sales (m)



     O
               ne Direction topped the global
               albums chart, with Midnight
               Memories selling four million units.     1 Midnight Memories
                                                                 One Direction     4.0
               The album was the fastest selling of

                                                        2 The Marshall Mathers Lp2 3.8


                                                                                                                      Lady Gaga photo by Meeno
     2013 in the UK and sold more than a million
                                                                 Eminem
     copies in its first five weeks of release in the


                                                        3 The 20/20 Experience     3.6
     US. It topped the charts in dozens of countries
     worldwide, from Australia to Sweden.                        Justin Timberlake
         Eminem’s The Marshall Mathers LP 2 took
     the runner-up spot on the global albums chart,
     selling 3.8 million units. The album debuted at
                                                        4 Unorthodox Jukebox
                                                                 Bruno Mars        3.2
                                                        5 Random Access Memories 3.2
     number one in the Billboard Top 200 chart and
                                                                                                                      Bruno Mars photo by Kai Z Feng

     Eminem became the first American artist to                  Daft Punk
     achieve seven consecutive number one albums
     in the UK. The album also topped the charts in
     countries from Austria to Canada.                  6 Prism  Katy Perry        2.8
                                                        7 To Be Loved
                                                                 Michael Bublé     2.4
                                                        8 Night Visions
                                                                 Imagine Dragons   2.4
                                                                                                                      Eminem courtesy of UMG




                                                        9 Artpop Lady Gaga         2.3
                                                        10 Beyoncé
                                                                 Beyoncé           2.3
                                                        Source: IFPI



12                                                      Michael Bublé courtesy of Warner Music
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 14 of 49 PageID# 1927



ifpi Global Recording Artist Chart
In 2014, IFPI published its first ever global recording artists chart       The second spot was claimed by Eminem, driven by the
to accurately capture the popularity of artists across a wider           success of his eighth studio album The Marshall Mathers LP 2,
range of channels, including digital downloads, physical format          which featured the singles Berzerk, Survival, Rap God and
sales and streaming services. The chart gives a fuller picture of        The Monster. The album
the popularity of artists across the many different formats and          featured guest appearances
channels through which fans now listen to music.                         from Skylar Grey, Kendrick
    The inaugural chart was topped by One Direction, the IFPI            Lamar, Rihanna and Nate
Global Recording Artists of 2013, on the back of the success of          Ruess. The album topped
their third studio album Midnight Memories, which contained              the charts in many major
the hit singles Best Song Ever and Story of My Life. The album           music markets including
topped the US Billboard Top 200 chart, making One Direction              the US, UK, Germany
the first group in the charts history to debut at No. 1 with its first   and Australia.
three albums. The video for Best Song Ever attracted almost
200 million views on YouTube and Story of My Life more than
                                                                                               The IFPI Global Recording
100 million views. The band’s music was also heavily streamed                                               Artist Award
on services such as Deezer and Spotify.


Figure 7: IFPI Global Recording Artist Chart




 wv                 1          One Direction
                               photo courtesy of Sony
                                                                         v               6         P!nk
                                                                                                   photo by Andrew Macpherson




                    2          Eminem
                               photo courtesy of UMG
                                                                                         7         macklemore &
                                                                                                   ryan Lewis
                                                                                                   photo by John Keatley




                    3          Justin Timberlake
                               photo by Tom Munro
                                                                                         8         rihanna
                                                                                                   photo courtesy of UMG




                    4          Bruno Mars
                               photo by Kai Z Feng
                                                                                         9         michael bublé
                                                                                                   photo courtesy of Warner Music




                    5          katy perry
                               photo by Cass Bird
                                                                                         10 Daft Punk
                                                                                                   photo by David Black




Source: IFPI
The compilation of the IFPI Global Recording Artist Chart
has been independently verified through certain agreed
procedures by BDO LLP. BDO LLP has verified that IFPI
has compiled the chart correctly in line with the outlined
procedures. The certain agreed upon procedures carried out
by BDO did not constitute an audit or review.




One Direction photo by JM Enternational                                                                                                  13
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 15 of 49 PageID# 1928
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 16 of 49 PageID# 1929


Top global singles                             Figure 8: Top global singles

The 2013 global singles chart was topped       Rank       Single & Artist                                   Total units* (m)
by Robin Thicke, the American-Canadian
singer whose Blurred Lines topped the
charts in 14 countries. The song was taken     1 blurred lines
                                                          robin thicke feat. T.I. and pharrell                       14.8
from his sixth studio album, also called
Blurred Lines. The track, which featured
T.I. and Pharrell Williams, was promoted
                                               2 thrift shop
                                                          macklemore & ryan lewis feat. Wanz                         13.4
with a video directed by Diane Martel
that featured models Elle Evans, Jessi
M’Bengue and Emily Ratajkowski and
                                               3 wake me up
                                                          avicii                                                     1 1 .1
                                               4 just give me a reason                                                9.9
attracted more than one million views
on Vevo in its first day of release. Thicke               P!nk Feat. nate ruess
performed the song with Miley Cyrus at
the MTV Video Awards, in the process
setting the record for an event generating     5 roar     katy perry                                                  9.9
the most tweets per minute (360,000).


Blurred Lines attracted more
                                               6 get luckydaft punk ft. pharrell williams & nile rodgers              9.3
than one million views on
Vevo in its first day of release
                                               7 radioactive
                                                          imagine dragons                                             8.6
   Macklemore and Ryan Lewis’ Thrift           8 when I was your man
                                                          bruno mars                                                  8.3
Shop was the second best performing
single. It was the fifth single from the hip
hop duo’s debut studio album The Heist.
                                               9 scream & shout
                                                          will.i.am feat. britney spears                               8.1
The track went to number one in nine
countries and the accompanying video
attracted more than 485 million views
                                               10 stay    rihanna                                                     7.9
on YouTube.
                                               Source: IFPI *Units include single-track downloads and track-equivalent streams.



The importance of                              Figure 9: Percentage of top ten albums in
local repertoire                               2013 that were by locally signed artists


Investment in local repertoire remains
                                               Country                                     %
the lifeblood of the international music
                                               South Korea                             100%
industry. Album charts in individual
markets demonstrate the continuing             Japan                                   100%
strength of local repertoire as a share of
                                               Brazil                                  90%
overall music sales. In many markets, local
artists account for the vast majority of       Italy                                   90%
the top selling albums of 2013. In France,     Sweden                                  90%
for example, 17 of the top 20 selling
albums of 2013 were local repertoire, up       France                                  80%
from 10 in 2011. In Germany, seven of the      Denmark                                 80%
top 10 selling albums in 2013 were local
repertoire, a trend reflected in 13 selected   Netherlands                             80%
non-English language markets (see Figure       Germany                                 70%
9). Record companies are also focused on
                                               Norway                                  60%
promoting locally signed artists around
the world. Warner Music points to its          Spain                                   60%
Japanese breakthrough artist Kyary
                                               Portugal                                50%
Pamyu Pamyu undertaking her second
world tour, while a new wave of                Malaysia                                50%
Scandinavian artists aspire to follow the
career trajectory of David Guetta, signed      Source: IFPI, National Groups
in France and now a global phenomenon.



                                               Lars Winnerbäck photo by Jonas Linell                                              15
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 17 of 49 PageID# 1930

d i g i ta l m u s i c i n 2 0 1 4




         UP
LIGHTING UP
LIGHTING
NEW MARKETS
NEW MARKETS
AND MODELS
AND MODELS

     T
              he music industry is continuing its transformation      for the music business. With 30 per cent plus of the world’s
              into a global digital business, expanding into new      population projected to own a smartphone by 2016 that
              markets and extending new access models to more         equates to over two billion potential music service customers
              territories across all continents. Record companies     worldwide.”
     are successfully delivering music through digital channels,          Record companies are harnessing the power of
     broadening the world of licensed music, and innovating to        smartphones with a new generation of partnerships.
     bring artists to a global audience. Music still leads the way    For example, Warner Music has signed a deal with Shazam
     for other creative industries — including books, films and TV    to boost its marketing and A&R activity. The record company
     — in monetising its core product for the digital world.          recently launched Linkin Park’s single Guilty All The Same
                                                                      exclusively on Shazam, with users who had previously
     The move to mobile                                               Shazamed the band getting advance notification of the
                                                                      release and all those using the service on the day of the
     Underpinning these developments is the global shift of
                                                                      launch getting a link to the track.
     music consumption to smartphone-based mobile platforms.
                                                                          Increased competition between the Android and Apple
     Digital music has moved rapidly from a fixed line desktop
                                                                      iOS platforms has opened the market and widened consumer
     PC experience to on-the-go consumption on wireless
                                                                      choice. Streaming services, in particular, are thriving on
     smartphones and tablet devices. Record companies are now
                                                                      Android devices. According to Stephen Bryan, executive
     monetising the consumption of music in ways that were not
                                                                      vice president, digital strategy and business development,
     possible a few years ago.
                                                                      Warner Music Group: “Android has created a number of new
                                                                      opportunities for us to reach consumers with different suites
     “The advent of the smartphone as a music                         of services. As consumers are moving to the Cloud, many of
      listening device has been profound for the                      them are ending up in the Android eco-system where we have
      music business.”                                                a lot of very high quality services waiting for them.”

     — Ole Obermann, Sony Music Entertainment
                                                                      Access & ownership
         The smartphones boom is an unprecedented opportunity         Digital music is also moving from a model based largely on
     for the music business. At the end of 2012, just 12.9 per cent   ownership to a more multifaceted model built around access.
     of mobile devices worldwide were classed as smartphones.         This is breaking down the traditional distinctions between the
     With penetration forecast to reach 36.2 per cent by the end
     of 2016 (Portio Mobile Factbook), there is huge potential for    “Android has created a number of new
     mobile to increase the reach of music services. According
                                                                       opportunities for us to reach consumers
     to Ole Obermann, executive vice president, digital partner
     development at Sony Music Entertainment: “The advent of           with different suites of services.”
     the smartphone as a music listening device has been profound     — Stephen Bryan, Warner Music Group




16
                                     Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 18 of 49 PageID# 1931



                                                                              “Each market is different . . . The transition
                                                                               is always going one way — it is just a
                                                                               question of how fast it’s going to happen.”
                                                                              — Rob Wells, Universal Music Group
Kingson Jin photo by Zheming Zhang




                                                                              major services. Rob Wells, president of global digital business
                                                                              at Universal Music Group, says: “There’s a blurring of the lines
                                                                              between the models. iTunes Radio is a stream. iTunes Match is
                                                                              a subscription, and on the back of it is a download service.
                                                                                  “Service definitions are getting more and more complicated,
                                                                              but this is to the benefit of the consumer, who is getting more
                                                                              and more choice. The greater the variety of consumer offerings
                                                                              there are in the marketplace, the more they will spend on music
                                                                              and the more engaging their experience will be.”
                                                                                  In the last three years record companies have licensed
                                                                              services to operate in more than 150 countries. Those
                                                                              services are now growing in markedly different ways
                                                                              internationally. Rob Wells says: “Each market is different
                                                                              according to socio-economic factors, infrastructure, credit
                                                                              card penetration, the willingness of carriers to implement
                                                                              carrier billing, anti-piracy legislation. These are all in the mix.
                                                                              The transition is always going one way — it is just a question
                                                                              of how fast it’s going to happen.”
                                                                                  While the biggest growth area is music subscription
                                                                              (revenues up 51.3 per cent globally in 2013), downloads
                                            GLOBAL SMARTPHONE                 remain substantially the largest revenue segment of the
                                               PENETRATION                    digital music business (67 per cent). They are seeing strong




                                             13%
                                                                              growth, especially in certain developing markets where iTunes




                                             13%
                                                                              has relatively recently arrived — notably, South Africa, Taiwan
                                                                              and countries in South East Asia. The arrival of iTunes more
                                                                              than doubled the value of the South African digital music
                                                                              market within the space of one year.


                                                2011 (770M)
                                                                              The rise and rise of streaming and
                                                                              subscription



                                            36%
                                            36%
                                                                              Record companies’ revenue streams continue to diversify,
                                                                              with streaming and subscription accounting for a growing
 Source: Portio




                                                                              proportion of income. The industry has licensed the
                                                                              expansion of global services, such as Deezer and Spotify,
                                                                              and backed regional services such as Muve, Napster, Rdio &
                                               2016 (3067M)                   WiMP. Asian subscription service KKBOX is expanding to new
                                                                              markets while streaming is growing in Africa with THE KLEEK
                                                                              and Deezer.
                                                                                  The impact of streaming, alongside an improved
                                                                              enforcement environment, in helping revive markets in
                                                                              Scandinavia is well-documented (see Sweden case study,
                                                                              page 34). Research also shows that streaming services are
                                                                              successfully helping to reduce piracy. GfK research in Sweden
                                                                              in 2013 showed nine in 10 paying users of Spotify download
                                                                              illegally less often. For consumers, streaming services’
                                                                              unlimited access and specialist playlists encourage discovery.




                                                                                                                                                    17
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 19 of 49 PageID# 1932


More discovery, more from mobile
A few years ago depth and volume of catalogue were key                   Already present in more than 180 territories, Deezer has
battlegrounds among digital services. Today, with major services     five million paying subscribers, 12 million active unique users
offering up to 37 million tracks, competition has shifted to         and partnerships with mobile operators across 31 territories.
recommendation and discovery. Francis Keeling, global head of        CEO Axel Dauchez says good editorial is vital to bring through
digital business, Universal Music Group, says: “To fully engage      new acts and meet the long-term needs of the consumer —
users, services need to provide a well-curated experience.           both of which are critical for the long-term future of the music
Music fans love to discover new music, and digital services need     business. He says Deezer’s focus on editorial — with emphasis on
to be experts at music recommendation.” Streaming services           curating new, domestic repertoire through a network of editors
are particularly focused on developing a mobile-first offer and      — is a compelling point of difference. “Being a jukebox solves the
increasing scale through ISP partnerships.                           short-term need. But in the long run you have no differentiation
    With smartphones now the primary point of internet access        versus your competitors or piracy. If you want to thrive it cannot
for many people, Spotify recently introduced a free mobile tier      be a market of what you already know, but helping people build
which aims to encourage more users to engage and ultimately          their own musical identity by cracking the discovery process.”
subscribe to the full Premium service. A new ‘Discover’ feature
offers enhanced recommendations as well as playlisting. Spotify      “If you want to thrive it cannot be a market
also introduced the Browse editorial pages, which curate playlists
                                                                      of what you already know, but helping
by mood, genre or news item. Spotify entered 38 new markets
in 2013, including Argentina, Hong Kong, Malaysia, Mexico,            people build their own musical identity by
Singapore and Taiwan, as well as countries across Eastern             cracking the discovery process.”
Europe. The service is now live in 55 markets and has a paying
                                                                     ­— Axel Dauchez, Deezer
subscriber base of more than six million.
    Ken Parks, chief content officer at Spotify, believes music
                                                                         Google Play Music All Access was the fastest-growing
subscription has hit a tipping point. “This is the way people
                                                                     subscription service in 2013. Having launched the subscription
are consuming music, so the debate about whether it’s a
                                                                     service in the US in 2013, Google Play Music now has three
model to embrace has been put to rest over the last year.
                                                                     components — the Play Music Store (à-la-carte downloads),
Unlike the distribution of physical product we can reach every
                                                                     Scan and Match (locker) and now All Access (subscription) —
person on the planet, at least every person with a smartphone.
                                                                     live in 21 countries on four continents by early 2014.
It opens up huge opportunities in the developing world, where
                                                                         All Access is designed to work seamlessly alongside the
countries have leapfrogged fixed line internet and gone
                                                                     existing Google Play free scan-and-match locker service that
straight to wireless.”
                                                                     allows users to store their existing music library in the cloud and
                                                                     stream it remotely or access it offline from any Android or iOS
                                                                     device. Zahavah Levine, director of global music partnerships for
“This is the way people are consuming music,                         Android, says the rapid take up of Google’s smartphone operating
 so the debate about whether it’s a model                            system has driven the success of Google Play as it provides easy
 to embrace has been put to rest over                                access to a massive global smartphone audience. “Subscribers
                                                                     are the best music customers we have. 120 dollars a year is
 the last year.”                                                     substantially more than the average user spends on purchasing
­— Ken Parks, Spotify                                                tracks. Relative to the industry’s overall revenue, subscription
                                                                     revenue is still a small piece but it’s growing fast.”
                                                                         Beats Music, an offshoot of the consumer electronics
                                                                     company owned by Dr Dre and Jimmy Iovine, launched its
                                                                     subscription service in 2014. CEO Ian Rogers believes the paid-for
                                                                     US music subscription business is achieving only a fraction of its
                                                                     huge potential. “There are 100 million people paying for cable


                                                                                Figure 10: Total paying subscribers worldwide (m)


                                                                                                                                 28

                                                                                                                  20
                                                                                                                                           will.i.am photo by The Bridge




                                                                                                     13
                                                                                     8



                                                                                    2010             2011         2012          2013

                                                                                         Source: IFPI estimates



18
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 20 of 49 PageID# 1933


                                                                                                         Streaming:
and satellite TV subscriptions in the US, but only a few million                                         “A sustainable income”
music subscribers today. We see the US subscription market
                                                                                                         Artists in countries with high rates of streaming
growing to 50 million and beyond.” Unlike most subscription
                                                                                                         have recognised the benefits to them, both financial
services, Beats Music will not offer a free tier. It believes its roots
                                                                                                         and creative.
as an artist-oriented company focused on curation will provide
                                                                                                             Carl Vernersson is from the management
a point of difference that encourages people to pay for a
                                                                                                         company At Night Management who manage
premium product.
                                                                                                         the international best-selling Swedish DJ Avicii.
                                                                                                         He points to three key benefits to artists of
“We’re aggressively marketing a unique                                                                   streaming services. First, financial: “From a financial
 offer for the entire family to mainstream                                                               perspective, streaming gives songs a longer life and
 America.”                                                                                               sustainability, meaning that you receive income
                                                                                                         over a long time. It may not be as much as when you
— Ian Rogers, Beats Music
                                                                                                         get something peaking on a download service in
                                                                                                         the first three or four weeks. But with streaming, it
    Rogers says partnership with AT&T will have a major impact                                           generates income for ten, fifteen or twenty years,
and allow them to market the service to customers on family                                              and that is royalties, not just publishing income.
packages. “Until recently, major US operators have only dabbled                                          Looking outside Sweden, I think that once services
with music services rather than using music as a marketing                                               like Spotify are established for a couple of years
differentiation. With AT&T, we’re aggressively marketing a unique                                        it will show artists that streaming is a sustainable
offer for the entire family to mainstream America.” The service                                          income, not a six-month-per-album income.”
intends to expand internationally.                                                                           A second benefit Vernersson points to is creative:
    Subscription services are also opening up new opportunities                                          “With the streaming revenue model, it’s even more
beyond mobile handsets and tablets. rara has recently launched                                           important to deliver a solid album and not just a
Europe’s first integrated in-car on demand music streaming                                               bundle or a single. That is something that I like
service with BMW. Available in virtually all new BMW models across                                       about streaming from a creative perspective. People
six European markets, rara with BMW Online Entertainment                                                 aren’t forced to go for a bundle-only download to
streams directly to the vehicle’s embedded SIM with no need to                                           get a single. They can make their own playlist and
plug in a smartphone. The service, which offers instant access to                                        explore music in a way that wasn’t possible before —
over 24 million tracks and more than 200 curated music channels,                                         even though the concept of playlists has existed for
includes a cross-border unlimited data roaming package and costs                                         a very long time.”
€390 in the first year and €220 in subsequent years. It is believed                                          Third, Vernersson says streaming services have
that the market for integrated in-car audio streaming will grow                                          helped revive a market formerly driven by piracy:
exponentially in the next few years.                                                                     “The big success for piracy was the accessibility
                                                                                                         it gave — people didn’t have to go to the record




  38
                                                                                                         store, they could download the single and have it.




  38
                                                                                                         Now, streaming services have achieved the same
                                                                                                         accessibility as piracy and more — but the difference
                                                                                                         is that they are making money and are able to pay
                                                                                                         artists. And that is great in so many ways.”


  new markets
    in 2013




 5m
 5m
                                                                          Avicii photo by Alex Wessely




     paying
   subscribers




    21
    21
     countries
                                                                                                                                   Streaming has driven a revival
                                                                                                                                   Swedish market with increased
                                                                                                                                   investment in A&R




                                                                                                                                                               19
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 21 of 49 PageID# 1934


Monetising music video                                                                       Internet radio —
Record companies are making big steps         crew to Cyrus’ performance. Another film,      looking globally
forward in music video, often helped by       by Steve Kardynal, features the bearded
                                                                                             Record companies are licensing internet
the resolution of publishing rights that      comedian dressed in drag and lip synching
                                                                                             radio services, which are tailored to the
until now have delayed the monetisation       Carly Rae Jepsen’s Call Me Maybe to the
                                                                                             ‘lean back’ consumer, specialise in music
of music video in some key markets.           alternating delight and horror of the users
                                                                                             discovery and create playlists based on a
YouTube, the most used music service in       of webcam-chat service Chatroulette.
                                                                                             specific artist or genre.
the world, is now licensed and monetised      Since both videos featured original sound
                                                                                                 In September 2013, iTunes developed
in virtually every country with twelve        recordings, their many millions of views
                                                                                             its service with iTunes Radio, seen by
markets added in 2013, including Sweden,      triggered payments to rights holders.
                                                                                             many as an opportunity to globalise an
South Korea and Chile. YouTube is the             YouTube, until now an exclusively
                                                                                             internet radio model which has been
biggest single access point to music for      advertising-supported service, is planning
                                                                                             predominantly restricted to the US. A key
consumers internationally, with one billion   what many see as a highly significant move
                                                                                             feature of the iTunes Radio service is the
users worldwide.                              into paid-for subscription. Plans for a
                                                                                             ‘buy’ button that directs listeners to the
    Improvements in the handling of user      premium service, which will offer a higher
                                                                                             iTunes store. Stephen Bryan of Warner
generated content (UGC) are helping           value experience to YouTube’s users,
                                                                                             Music says: “We’ve always thought that
rights holders grow income from YouTube       were announced in mid-2013 with launch
                                                                                             digital radio is a category that has great
and other licensed platforms. Google’s        expected in 2014.
                                                                                             potential around the world. And the fact
ContentID system (and other systems               Vevo also made significant
                                                                                             that Apple is getting into that business is
used by other platforms) has made it          developments to its service in 2013,
easier for rights holders to differentiate    launching in Germany, the Netherlands
between video types, allowing the             and Poland. The service is now available
                                                                                              Steve Kardynal’s Call Me
streaming of non-official user-generated      in 13 countries. Vevo also launched a
content such as mashups to be licensed        24-hour MTV-style digital channel with          Maybe Chatroulette video
and monetised, rather than removed for        video premieres, live concerts and music-      has been viewed more than
infringing copyright. YouTube’s TrueView      themed original shows. Initially live in the
tool for advertising is also having a         US and Canada, Vevo TV is expected to
                                                                                                     14m times
positive impact in monetising music           roll out to more territories in 2014.
videos. According to YouTube, revenues
generated from UGC on its platform have
now overtaken those generated by
official videos.


Improvements in the




                                                                                                                                           Carly Rae Jepsen photo by Reid Rolls
handling of user generated
content are also helping
rights holders generate
income from use of their
works on licensed platforms
    One such mashup saw footage from the
original 1960s series of Star Trek spliced
with Miley Cyrus’ performance at the 2013
MTV Video Music Awards — presenting an
astonished reaction by Captain Kirk and his




            5
            5
     countries in 2010
                                                       13
                                                       13
                                                 countries in 2014



20
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 22 of 49 PageID# 1935


                                                isps leverage the value
a sign that the global digital radio business   of music: kpn-Spotify
is going to start to heat up. There are a
                                                Music services looking for access to the mass
great number of consumers who listen to
                                                audience can partner with ISPs to offer a music
radio and are casual buyers of CDs and
                                                service bundled with phone and data packages.
downloads, and digital radio will provide a
                                                These are commonplace in Europe and North America,
huge opportunity for us to better target
                                                offering streaming services access to a vast audience,
and reach these fans.”
                                                an established and convenient payment system and
                                                adding value to ISP services. Spotify’s partnership with
“We’ve always thought that digital              KPN in the Netherlands is often held up as a textbook
 radio is a category that has great             example of a successful ISP agreement.
 potential around the world.”                       For ISPs, a successful partnership in music
                                                streaming brings considerable rewards. One of
Stephen Bryan, Warner Music
                                                the most talked-about successes of 2013 has been
                                                Spotify’s cooperation with ISP KPN. Marnix Laurs,
    US internet radio service Pandora, also
                                                head of content and partnerships at KPN, says the
available in Australia and New Zealand
                                                cooperation between the ISP’s “Triple Play” service,
is the best-known standalone internet
                                                which bundles Spotify’s premium tier for free in the
radio service with more than 70 million
                                                top two propositions, has exceeded expectations.
users. Subscription services such as Rdio,
                                                    The partnership is one of the measures KPN
Rhapsody and Spotify also provide free
                                                has taken to increase customer acquisition, and
ad-supported, radio-based services to
                                                advance customer loyalty. With that, it helps KPN to
attract new users.
                                                compete with its two larger competitors, Ziggo and
                                                Liberty Global. Customer acquisition and stimulating
Engaging in emerging                            loyalty are the key metrics of success for any ISP.
markets                                         “There is fierce competition among ISPs, not just
                                                in the Netherlands but everywhere. We partnered
With underdeveloped payment systems,            with Spotify because we were looking for a way to
high piracy rates and little tradition of       distinguish ourselves from the others. We looked at
paying for music, many large global             how we could engage music subscriptions to boost
markets are yet to reach their vast             customer acquisition and grow customer lifetime
potential. The growth of smartphones            value. We wanted something that was innovative, that
and licensed music services, however,           covered the whole Dutch market and that showed off
is starting to change that and emerging         the strength of our network. Putting all that together,
markets are a key focus for international       we saw music streaming as the answer.”
record companies in 2014.                           The Netherlands is one of the fastest-growing
    Dennis Kooker, president, global            markets for music streaming services, with overall
digital business & US sales at Sony Music       digital revenues up 56.1 per cent in 2013, with much
Entertainment, says: “We see growth in          of the credit going to success of the KPN-Spotify
emerging markets significantly outpacing        partnership.
the rest of the world with the friction             “KPN definitely believes that the Spotify service,
around distribution and reaching the            and streaming services in general, can be appealing
consumer removed because of mobile              to all customer target groups”, Laurs says. “For
technology and properly licensed music          the over-45 age group we are convinced we can
services. Tackling piracy and making the        establish a high level of penetration. This will grow as
shift to licensed consumption remains           customers use, and start to love, the service. Younger
very challenging in some of the markets         target groups are growing up in a world in which the
with the highest potential. Expansion           opportunities they are being offered now will be ones
of services focused on pre-paid billing         they use for the rest of their lives — that is why KPN
mechanisms is also critical as the vast         thinks there is a huge potential for streaming services.”
majority of consumers are accustomed to
paying bills by pre-paid methods versus
using credit cards.”




                                                                                                     21
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 23 of 49 PageID# 1936



Rapid digital growth
in Latin America
Markets in Latin America are already
confirming this potential, with digital
revenues growing 124 per cent over the
                                             124% 28%
                                             124% 28%
                                             digital growth in latin                           average global digital
                                               america 2010–2013                                 growth 2010–2013
last three years, compared to a global
average of 28 per cent. To build on this
growth and unlock value across the mass
                                            to Latin America for the first time. US        Local services thrive
market is requiring new ways of thinking.
Key strategies include collaboration with
                                            service Muve offers daily or weekly pre-       in Asia
                                            paid mobile music subscriptions starting
mobile operators and ISPs, bundled music
                                            from 50 cents a day and launched in Brazil     Record companies are engaging actively
packages and pre-paid music subscription
                                            in cooperation with TIM, the country’s         in markets across Asia. In the last
on devices. In Latin America a number
                                            second largest ISP. Alejandro Duque, vice      two years, the region’s larger markets
of new partnerships were launched or
                                            president, business development and            outside Japan have seen the rollout of
extended in 2013 as digital revenues
                                            digital, Latin America at Universal Music      all the major download, subscription
grew by 28.1 per cent.
                                            Group, says: “It’s important to remember       and streaming services, combined with
                                            that credit card penetration is still not      increased competition from local services
Figure 11: Digital growth in Latin          very high in this region so when a service     such as Taiwan-based KKBOX. Services
America, 2013, Selected Countries           only allows credit card billing they’re        such as Deezer, iTunes and Spotify are
                                            catering for a small percentage of the         seeing healthy growth in sales among
Country                      % growth       population. That is why doing deals with       a largely higher income, credit card-
                                            carriers, or with any company that is going    owning demographic, complementing
 Peru                           +149%       to enable mass billing, is absolutely the      ad-supported services that are
                                            key to success.”                               free-to-consumer.
 colombia                        +85%
                                                Piracy remains a huge problem in the            In China, licensing agreements are in
 venezuela                       +85%       region. Luis San Martin, director general      place with eight major digital platforms,
                                            of Multimusic, Mexico’s leading music          part of a push towards a paid-for online
                                            content broker for independent artists,        model (see China case study, page 36).
Source: IFPI
                                            says: “We’re fighting piracy on the streets,   In India, already Asia’s second largest
                                            our robots are searching the internet and      music market after Japan, local streaming
    Spotify announced a partnership in      we’re campaigning to get the government        services Gaana and Saavn, which target
Mexico with Telefonica which bundles        to deal with the issue. Before, when we        domestic and international higher-income
their music service with phone and data     didn’t take action, people thought that it     Indian customers, are growing fast.
services. Deezer partnered with ISP Tigo    was OK to break the law. Now we’re an               Sandy Monteiro, president, South-
to cover Central America and the Andean     industry that is taking responsibility for     East Asia for Universal Music Group,
region and Napster partnered with ISP       its content.”                                  sees enormous growth potential in Asia
Terra to bring the Rhapsody-owned service                                                  markets. “Last year was a milestone year,




                                                                                                                                        Armin Van Buuren photo by Chris Davison
                                                                                                                                        Anitta photo by Washington Possato




22
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 24 of 49 PageID# 1937


because in 2013 we saw the arrival of           KKBOX: Asia’s local service
major global services in Asia. So for the       fights its corner
first time we are seeing the kind of digital
services available that already exist in        Although international services have made more
America and Europe. The global services         headlines in 2013, Asia is home to one of the world’s
have been very diligent in ensuring they        first music subscription services, KKBOX, which is
have a huge domestic repertoire base            now competing against the global players with its
before they launch in Asia markets, but         own locally-branded freemium service. The service,
KKBOX has taken the fight to them by            along with iTunes, helped fuel strong digital sales
expanding around the region.”                   growth in its native Taiwan in 2013, with revenues
    In a region with historically rampant       up 46 per cent.
levels of piracy, record companies and legal        Founded in 2004, KKBOX is one of Asia’s leading
services in Asia have been working to open      digital music services. It provides limited free
up the mass market. As in Latin America,        streams for its 10 million-plus free users, and an
they are partnering with ISPs. Deezer’s         unlimited, fully-portable, integrated mobile, tablet
partnership with Thailand’s second largest      and desktop service for its 1.5 million-plus paying
telecom company Dtac has been hailed as         subscribers. The service is now available across Asia
a major success. For Universal, Monteiro        in Hong Kong, Japan, Macau, Malaysia, Singapore,
says more telco partnerships will follow        Taiwan and Thailand.
when operators see the competitive                  Like other digital services, KKBOX is competing
advantage in linking with music services:       on music discovery and curation as it is on
“Somewhere along the lines the telcos           distribution. Chris Lin, founder and CEO of KKBOX
will come around and understand how to          set out from the start to create a superior
better monetise their platforms.”               experience for consumers used to free unlicensed
                                                services. It has built a differentiated music brand
                                                with quality magazine-style editorial, a move that
Russia shows potential                          has seen the company extend its brand into printed
Russia remains an underdeveloped                magazines and TV programming. The service
market, but one of huge opportunity.            became a hit in Taiwan and quickly launched in Hong
Music revenue rose by 12 per cent to            Kong and other Asian markets. In 2013, it launched
US$69 million in Russia in 2013 after the       another innovation, ‘Listen With’, which allows
arrival of iTunes, illustrating the potential   users of the service to listen live with others with
in that country. Record companies have          “70–80 per cent” of domestic artists using KKBOX.
licensed more than a dozen digital music        “We’re trying to build our service into a premium
services, including local services such         brand. You can get free music from YouTube, from
as Yandex, Trava and several mobile             piracy, but there’s something that you cannot get
operators. While the industry is trying to      which is a closer feeling, closer distance with
find licensing solutions, these services are    artists . . . interaction. That’s what we’re trying to
struggling to fulfil their potential because    build — a VIP-club type of feeling.”
of high rates of digital piracy. Russia’s           All players in the legitimate digital music market
largest online social network, vKontakte,       across Asia agree that piracy remains a huge problem
operates a heavily used unlicensed music        for the sector. Chris Lin says he is competing with
service, which has been the subject of          15 or 20 illegal services from China that are active.
legal action by rights holders. While such      “People call us the leading platform in Asia, but I in
services continue to operate in disregard       fact would say the leading platform is still piracy.”
of music copyrights, it is difficult to
establish a sustainable licensed digital
music market in Russia.




                                                                                                   23
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 25 of 49 PageID# 1938




Long live
     live the
          the
record label
record  label
Daft Punk: A physical campaign in the digital world


     Daft Punk’s Random Access Memories           and information. And, third, Sony needed    TV at a specific time. In response, fans
     was one of the most significant global       to be creative knowing it did not have      immediately began generating their
     releases of 2013. The band delivered a       unlimited funds.                            own content and conversing — one of
     sophisticated contemporary record that           In answer to this, first Sony music     them even created a popular 10-minute
     its record label backed with an innovative   employed scale and timing — everything      audio loop of the riff in the teaser video.
     marketing campaign.                          global, everything simultaneous. Second,    This larger than life approach was
          John Fleckenstein, EVP, International   in tune with the group’s vision, Sony       also taken all the way through to
       at Sony Music Entertainment, says          Music employed an interesting approach:     the album launch. “For instance,
          that it was the trusted partnership     every action was to be carried out in the   in Australia, our local company
            between the band and record           physical world, but get reflected into to   decided to debut the album
             company that enabled them to         the digital/social media world.             at the Wee Waa county fair
             create a campaign as exciting            This came out of the group’s            — which because of global
             as the album itself. “In the         inspiration from some of the film and       time zones, technically
            summer of 2012, around ten of us      album premieres of the ’70s and ’80s        became our first play. They
            convened in a Paris studio to meet    whose launch campaigns were ‘larger         first announced the event in
           Daft Punk, listen to the album and     than life.’ Campaigns that left fans        the local printed newspaper,
           understand their vision for how        wondering and wanting more — driven         which then sent the internet
          they wanted it released to the world.   by a compelling sense of mystery that       into a frenzy of speculation as
         It was immediately apparent that the     made the debuts immensely exciting.         people asked: why would Daft Punk
       music was truly exceptional and we                                                     launch their album in a town in the
     needed a campaign that matched the                                                       middle of the Australian outback? The
                                                  “We needed a campaign
     scale of their vision.”                                                                  intrigue generated global headlines and
          Having over six months between           that matched the scale                     ultimately media even travelled to the
     the first meeting and the album’s             of their vision.”                          small town for the event.”
     release meant Sony Music had time                                                            The album was released across all
                                                  — John Fleckenstein, Sony Music
     to put together a sophisticated global                                                   formats simultaneously. Random Access
     campaign. “Fundamental to our                                                            Memories was the biggest ever pre-
     success was our ability to communicate           “Our campaign started with tightly      ordered album on iTunes at that point.
     internally within Sony the vision behind     coordinated outdoor advertising placed      It hit number 1 in 97 iTunes stores —
     the project and the power of music.          in known worldwide locations and a          while simultaneously breaking the
     We visited every key market — usually        short mysterious TV teaser using a riff     record for the most streamed album
                                                                                                                                            Daft Punk photo courtesy of Sony Music




     with the group themselves and their          from Get Lucky. Fans saw these things,      of all time on Spotify.
     manager. We played them the full album       recorded them and shared them like              The Random Access Memories
     and evangelized the concepts behind          crazy. Billboards were placed in highly     campaign highlights how artists and
     our launch.”                                 recognisable locations around the           labels can work together to generate a
          Certain elements made the campaign      globe — in London, in Los Angeles, in       phenomenal level of global interest in
     unique. First, the artists are two Robots.   Tokyo — fuelling this ‘it’s happening       an album launch. It also showcases how
     They do not have a ‘public’ voice — they     everywhere’ excitement amongst fans.        activity in the physical world can be used
     do not do interviews or have Twitter         For the teaser, Columbia Records in         to motivate fans to be in the vanguard of
     accounts. Second, they had a globally        the US premiered the piece during SNL.      an artist’s digital campaign.
     charged fan base rabid for more music        Sony UK bought ‘road blocks’ across




24
Avicii photo by Jocob Schulman
                                 Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 26 of 49 PageID# 1939




                                 Avicii: From club DJ to global superstar

                                 Avicii has gone almost overnight from          melodies, rhythms and vocals to Avicii for      becoming the most streamed track in the
                                 being a club DJ in Sweden to a global artist   him to edit and release as a finished track.    service’s history with more than 190 million
                                 who plays in the world’s biggest arenas.       He also released the track Three Million to     streams to date. Avicii’s single Hey Brother
                                 He worked with his management and              mark the acquisition of his three millionth     also proved another global hit on Spotify
                                 record company on a world conquering           Facebook fan.                                   and in download sales.
                                 campaign fuelled by innovative electronic          Avicii and his record label then prepared       Per Sundin says: “The campaign has
                                 dance music (EDM) and harnessing online        to promote his debut album True and its         been a game changer for the whole music
                                 social networks.                               lead single Wake Me Up. The album was           industry. Avicii has built his loyal global fan
                                     Per Sundin, senior vice president,         unveiled at the Ultra music festival in Miami   base through online social media. We’ve
                                 Nordic region, Universal Music Group           in a live performance featuring a range of      focused our marketing resources on
                                 International, first discovered Avicii on      artists who had collaborated on the album,      targeting the under 30s in the world they
                                 YouTube, where he had posted a song,                                                           live in. That means focusing much more
                                 Bromance, the instrumental version of          “Avicii has built his loyal                     on social media, rather than traditional
                                 what later became Seek Bromance, under                                                         newspapers and linear television.”
                                                                                 global fan base through
                                 the pseudonym Tim Berg. Sundin was                                                                 Sundin also points to the success
                                 searching for EDM acts after witnessing the     online social media.”                          of Avicii’s brand partnership deals with
                                 popularity of a new generation of artists at   — Per Sundin, Universal                         the likes of Ericsson and Ralph Lauren.
                                 the Pacha nightclub in Ibiza.                                                                  “Business understands that music is the
                                     Sundin was impressed by the song           including Aloe Blacc, the vocalist on Wake      frontrunner of change in society and they
                                 and the harmonies and, of course, the          Me Up. EDM fans at the festival disliked        want to harness its emotional power.
                                 amount of views the unreleased song had        the album that featured elements of other       Artists know that working with brands
                                 gained and approached Avicii’s manager,        genres, including country music, and there      helps them reach a broader audience.
                                 Arash Pournouri, signing a deal to release     was strong hostility across online social       EDM is built around the collaboration of
                                 it across the Nordic region. It was a          networks over the next 24 hours.                DJs, songwriters and artists and this is an
                                 successful hit and they followed up with           Sundin says: “This is where we had to       extension of that. Collaboration is the
                                 the single Fade Into Darkness. Sundin was      hold our nerve. We knew we had a great          new creation.”
                                 encouraged by the reaction to these two        album. We knew this was a shock to                  The campaign to take Avicii from
                                 tracks to energise Universal Music’s global    hardcore EDM fans, but we were convinced        Swedish club DJ to global superstar
                                 network to promote Avicii’s single Levels,     this album would take Avicii to a whole         underlines how online social media,
                                 which became his first global hit selling      new level.”                                     properly harnessed, can help artists and
                                 more than five million copies.                     This judgment proved correct as Wake        record companies speed up the process of
                                     In January 2013, Avicii launched a         Me Up topped the charts in more than            building a global fan base. It also highlights
                                 campaign in partnership with Ericsson, to      20 countries and has now sold more than         daring to be innovative can help take an
                                 create the world’s first ‘crowd sourced’       8.5 million copies worldwide. The single        artist to a whole new audience.
                                 hit song. Fans sent basslines, effects,        also proved a huge success on Spotify,



                                                                                                                                                                            25
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 27 of 49 PageID# 1940




                           Great sound
                            and great stories.




In 2013 we successfully introduced our lossless     WiMP HiFi is a premium product for people who care
streaming product – WiMP HiFi. Alongside the best   about sound and music. It has been introduced at a
sound quality, we have now included our magazine    higher pricepoint and has given the opportunity to
in our apps. Combining the two makes the ultimate   improve revenue for labels and artists.
music moment, where you can listen without
compromise and read great music stories.            Why? Simply because music matters.




www.wimpmusic.com
                                                       Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 28 of 49 PageID# 1941
Hunter Hayes photo by Guzman for StocklandMartel.com




                                                        Hunter Hayes: The YouTube orchestra

                                                       Warner Music Nashville/Atlantic Records       YouTube’s own creative space, the            ahead of the official music video. Holley
                                                       recording artist Hunter Hayes released a      YouTube Hangar. This enabled the label       says: “This enabled us to build excitement
                                                       new version of his song Everybody’s Got       to pull together a range of the ‘YouTube     and expectations around the multiple
                                                       Somebody But Me featuring label-mate          Stars’ who post their own versions of        video releases. It allowed us to extend the
                                                       Jason Mraz as part of the Encore edition      hit songs onto the platform together         typical runway of a music video by one
                                                       of his eponymous debut album. Atlantic        and invite them to perform with Hayes        month. We received a significant spike
                                                       and Warner Music Nashville wanted to use      and Mraz.                                    in views, engagement, and built more
                                                       YouTube to help attract new audiences             Content creators ranging from Tyler      familiarity around the track than we would
                                                       to Hunter’s music. They felt there was an     Ward to Kina Granis submitted their          normally have.”
                                                       opportunity to reach Generation C, create     own versions of Hayes’ song and Warner           The whole approach was built around
                                                       a compelling piece for Hunter’s fans, and     Music Nashville along with Hunter            the Nashville mantra, “It all starts with a
                                                       extend the reach to new audiences.            created a mash-up of the results. It then    song.” Holley says: “It’s really cool to hear
                                                                                                                                                  such different variations of the track from
                                                                                                                                                  acoustic to a capella. A powerful song
                                                       “There is a misconception that Country music fans are                                      transcends all formats and demographics.”
                                                        not digitally savvy, but that’s just not true.”                                               Holley says the campaign saw digital
                                                       — Jeremy Holley, Warner Music                                                              teams from across Warner Music Group
                                                                                                                                                  (Warner Music Nashville, Atlantic Records
                                                           Jeremy Holley, senior vice president,     brought together Hayes, Mraz and all         and Warner Bros. Records) work together
                                                       consumer and interactive marketing,           the ‘YouTube Stars’ to create a one-shot     to make it a success. He believes that
                                                       Warner Music Nashville, says that digital     music video featuring all of them, dubbed    major labels and publishers are still at the
                                                       channels such as YouTube are central          the ‘YouTube Orchestra’, for the mash-up     heart of the music industry. “There is a
                                                       to the label’s promotion of Country           track. Holley said: “Hunter and Jason had    reason YouTube Stars — who are hugely
                                                       artists. “There is a misconception that       a blast. They even partially recreated the   talented — cover our songs. Living in
                                                       Country music fans are not digitally savvy,   video when they played the track at the      Nashville and seeing how much work goes
                                                       but that’s just not true. Hunter and his      Country Music Awards.”                       into the creative process is inspiring. We
                                                       audience are highly engaged in the space          This unique approach to filming          have writers and artists in town that cross
                                                       and we thought it would be a great way to     YouTube material for a song meant            collaborate and extending this to other
                                                       give them a campaign that was engaging.”      that Warner Music Nashville could            musicians in the YouTube ecosystem only
                                                       The label contacted YouTube and               run a lengthy campaign that engaged          adds more value.”
                                                       sounded the platform out about an             significant numbers of music fans. The
                                                       interesting campaign.                         individual ‘YouTube Stars’ released their
                                                           Rather than film in Nashville, Warner     own versions of the track and then the
                                                       arranged to shoot in Los Angeles at           ‘YouTube Orchestra’ video was released



                                                                                                                                                                                            27
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 29 of 49 PageID# 1942




                                    Stingray Digital delivers
                                    a complete set of
                                    ADVANCED MUSIC SERVICES
                                    to more than
                                    105 million households in
                                    113 countries,
                                    providing an unparalleled
                                    distribution platform for music
                                    content of all types.
                                    www.stingraydigital.com
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 30 of 49 PageID# 1943




Working in partnership: Passenger and the Embassy of Music

British singer-songwriter Mike Rosenberg,      we helped get the record to number           the Netherlands to launch him in Germany
better known as Passenger, first came          one in November 2012. That was the           and across Europe. Having topped the
to the attention of German independent         turning point.”                              German singles chart in February 2013,
label Embassy of Music in early 2012.              This success gave the label a platform   Let Her Go went to number 1 in Austria,
Once the frontman of the UK-based              to reach the German market, with a           Belgium, Sweden, Switzerland, Australia
band of the same name, Rosenberg had           promotional campaign, again focused on       and New Zealand, as well as number 2 in
moved to Australia in 2010 as a solo artist,   radio, followed in the New Year.             the UK. Album All the Little Lights entered
before signing to leading independent              Von Löhneysen said while Facebook        the top ten in a dozen global markets,
label Inertia Records. Wanting to build on
Rosenberg’s Australian success, Inertia
worked with Embassy of Music to launch         “A record label’s experience in marketing, plugging, and
his career in continental Europe.
                                                breaking artists is still a vital complement to what the artist
    Embassy of Music MD Konrad von
Löhneysen says Passenger had already            can do on social media, not an alternative.”
built up a strong following on Facebook,       — Konrad von Löhneysen, Embassy of Music
but a combination of social media with
traditional marketing helped take him
from a little-known singer-songwriter          was also a critical channel in the           going Platinum in Germany and Australia,
with a small but loyal following to            campaign, the label didn’t view it solely    as well as Gold in the UK.
top-ten success across Europe and              as a sales channel. Embassy of Music              “Any artist can upload a YouTube video,
Australasia. Before breaking the artist in     used Facebook’s geo-IP technology to         put out an album, talk to their fans. And
their native Germany, the label used its       filter updates by territory, enabling them   it’s best when it all comes from them.”
network leverage a successful campaign         to work with the artist to provide fans      adds von Löhneysen. “But traditional
in the smaller Dutch market working in         with useful updates on tour dates and        media is also important to take them to
partnership with Sony Music Netherlands.       new releases, without compromising his       the next level. Not every artist can be
    “German radio is really fragmented.        artistic integrity. “Passenger had built a   like Radiohead, who had years of label
Even though we knew we had a potential         relationship with fans, we didn’t want to    support helping them build their fanbase.
hit in Let Her Go it’s hard to create an       take over the page and compromise that       A record label’s experience in marketing,
impact with an unknown artist from a           — it’s all him.”                             plugging, and breaking artists is still a vital
standing start. The radio market is far            Passenger’s Facebook following in        complement to what the artist can do on
smaller in the Netherlands. Working            Germany grew to 140,000 through 2013,        social media, not an alternative.”
closely with a top Dutch radio plugger,        as the label capitalised on its success in




                                                                                                                                       29
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 31 of 49 PageID# 1944


“We can do things that were unthinkable”: Engaging fans in social networks in Brazil

Record companies are increasingly             because it had a long-term relationship        in the official soundtrack, before travelling
partnering with brands and, in some cases,    with the performers, it could often deliver    to the World Cup final.
becoming valuable brands themselves.          more for the brand than a regular agency           Schiavo says: “Our work is about
One example has been the strategy of          could. The partnerships also benefited         engaging people and having fun. Offering
Sony Music in Brazil. The company says it     artists. “If the artist wanted to do a third   them something that money can’t buy and
has built up its digital presence, becoming   or fourth music video that wasn’t in the       exciting them about artists and brands.
the number one record label in the world      original plan, we could generate money         We’re now taking this work from Brazil to
on Facebook, with more than 7.8 million       from the brand partnerships to make            a global market.”
fans (consolidating Sony Music Brazil         that deliverable.”                                 Sony Music Brazil has also run social
and Sony Music Gospel pages) and more             One example of such a partnership          media campaigns for brands including
than 63 million fans on the co-managed        was the campaign for local rock band           Coca Cola, Nestlé, Skol Beer, Gol Airlines,
Brazilian cast Facebook pages. It is also     Capital Inicial involving Sony Electronics.    Puig Fragrances and Telecom Italia. The
the leader on Google+, with more than         The band shot a music video in the desert      company has developed a presence across
1.1 million followers, as well as Instagram   in Chile using a 360° camera, with             a range of additional digital and social
and Foursquare. This gave Sony Music          Sony Electronics paying for the shoot.         networks including Vine, Flickr, Tumblr,
Brazil a platform that was attractive to      The band also ran a competition on Sony        Twitter, YouTube and Vevo.
both brands and artists.                      Electronics’ Facebook page that saw the            Schiavo says: “We’re projecting further
    Alexandre Schiavo, president, Sony        winner go on a trip to São Paulo with the      huge growth in this area over the next
Music Brazil, says: “We decided in 2005 to    band to go shopping for musical products.      few years. Brands are looking for music
become fully focused on digital channels.
My own background was in digital and I
realised that the new generation of social    “Music fans are starting to see record companies in a
media would be revolutionary for us.
                                               completely different way — they never had this level of
We knew it would give us direct contact
with music fans on a scale that was            engagement in the past.”
unimaginable before.”                         — Alexandre Schiavo, Sony Music Brazil
    “We ran competitions for brands and
helped them connect with music fans on
a huge scale. Our partnership with Sony           This approach is also being taken          content and artists can benefit from
Electronics Brazil saw the company go         to a global audience. Sony is one of           the right strategic partnerships. We
from 180,000 to two million Facebook          the sponsors of the 2014 World Cup,            can do things that were unthinkable a
fans in just seven months. We replicated      with Sony Music producing the official         few years ago. We can fill up a stadium
music content on their Facebook page and      soundtrack album. The record company           with fans of a band without placing a
generated exclusive content for them.         worked with Sony Corp on a competition         single advertisement — only using digital
We effectively became their digital           featuring Ricky Martin which invited           activations. Music fans are starting to
advertising agency focused on music and       fans worldwide to write a song for him         see record companies in a completely
entertainment.”                               to sing. The winner of the “SuperSong”         different way — they never had this level
    The record label paid artists for the     competition is to have their work              of engagement in the past.”
work they delivered for brands, but           recorded by Ricky Martin and be included


                                                                                                                                             Ricky Martin photo by Omar Cruz
                                                                                                                                             Capital Inicial photo by Marcelo Rossi




30
                                Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 32 of 49 PageID# 1945


                                Katy Perry: A global phenomenon

                                Katy Perry is a global phenomenon —           She performed Roar at the close of the        Katy Perry also announced her new album
                                her latest album topped the charts in 100     MTV Video Music Awards in the US, in          via a giant gold-plated truck with ‘KATY
                                countries and she is the most followed        addition to embarking on four major           PERRY — PRISM — 10.22.13’ inscribed
                                personality in the world on Twitter.          international promotional trips in the span   across the sides. The campaign was
                                    PRISM, her third studio album, was        of just a few months, including Australia,    replicated in Mexico and also in the UK,
                                released in 2013 and featured a number        Canada, France, Germany, Italy and Japan.     where Perry-branded gold-plated taxis
                                of tracks that had promotional campaigns          Meredith Gardner, VP, digital             chauffeured artists and celebrities to the
                                built around them. Bob Semanovich, SVP,       marketing, Capitol Music Group, says:         2013 iTunes Festival in London.
                                marketing at Capitol Music Group says:        “Katy’s really authentic and that’s what          Hot on the heels of Roar, a brand
                                “Our plan for Katy is not built around a      makes her Twitter so powerful. She            partnership deal with MTV, who in turn
                                traditional album release cycle, where        tweets in her own voice about what she’s      partnered with Pepsi resulted in a major
                                we concentrate our promotional effort
                                around one date. There are lots of singles
                                                                              “Our plan for Katy is not built around a traditional album
                                on PRISM and there will be lots of Katy
                                campaigns for the next 18 months and           release cycle, where we concentrate our promotional
                                beyond.”                                       effort around one date.”
                                    The lead promotional single Roar was
                                                                              — Bob Semanovich, Capitol Music
                                released in August. Katy released four
                                short teaser videos heralding the new
                                stage in Perry’s creative development.        seeing and doing. She’s also good at          promotion of PRISM. Fans were given the
                                A lyric video was released in which,          surprising her fans, jumping on Twitter for   opportunity to unlock song titles, lyrics
                                unusually for a star of her stature, Katy     an impromptu Q&A or sharing Twitpics of       and snippets from the album by tweeting
                                appeared. She spelled out the lyrics          what she’s up to.”                            #KATYNOW. They could also listen to
                                to Roar in emoticons, and the video               The team helps identify great             previews of the tracks Dark Horse and
                                generated almost 70 million views. The        opportunities to showcase her music           Walking on Air and vote on which they
                                official video was promoted using a classic   and uses social media to highlight her        wanted to have early release on iTunes.
                                1930s-style Hollywood movie poster and        appearances. Kieran Thurgood, director,           The second single from PRISM
                                a series of online teasers. The video went    international, Capitol Music Group,           was Unconditionally. This was
                                on to be viewed around 360 million times      adds: “Katy is a global superstar, but it’s   backed by the promotional campaign
                                on YouTube alone, while Roar topped the       incredibly important for us to execute        #KatyUnconditionally that invited fans to
                                charts in 97 countries.                       marketing and promotional strategy on         share an Instagram of what unconditional
                                    Perry works tireless to promote her       a local level so fans around the world        love meant to them and upload it with
                                music and the domestic and international      can truly connect with her and her music      their story and location to appear in an
                                teams at Capitol Music Group help             in a very natural way. We work hard to        online PRISM map of the world.
Katy Perry photo by Cass Bird




                                harness her social media platforms to         ensure Katy has the most impactful global         Capitol Music Group’s campaigns to
                                promote her wide range of appearances.        media platforms to do what she does.          support Katy Perry highlight how music
                                                                              Examples of this include Katy’s stunning      companies have transformed their
                                                                              performance on the X-Factor finale            marketing and promotional strategies.
                                                                              in the UK, performing alongside local         The success of the PRISM campaigns also
                                                                              contestants on Germany’s The Voice, a         highlights how important multiple hit
                                                                              special Sunrise performance in front of       singles are to continuously drive ongoing
                                                                              Sydney Harbour Bridge in Australia,           interest in an artist and keep them in
                                                                              a major TV promotion with MSN & Visa in       the spotlight.
                                                                              Canada, a landmark visit to China with the
                                                                              prestigious China National Orchestra and
                                                                              a phenomenal performance at the MTV
                                                                              European Music Awards in Amsterdam.”




                                                                                                                                                                    31
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 33 of 49 PageID# 1946




                                                                                                                                          Tommy Torres courtesy of Warner Music
Tommy Torres: Harnessing the power of Twitter

Tommy Torres is a Puerto Rican born               Martinez says: “It was an example of         Martinez says that digital platforms
singer-songwriter who, until recently, was    how an artist can use social media to         are now central to all the artist campaigns
highly respected by his peers but had not     take the pulse of their fans. People felt     WMG runs for its Latin artists. “With
yet become established in the mainstream      they were part of Tommy’s story and had       channels such as YouTube you can really
music market. Warner Music Group (WMG)        ownership over the song.”                     see which songs music fans are engaging
helped him break through to a broader             Torres released his next two singles on   with. Radio stations may choose to heavily
audience of music fans through the            Twitter ahead of their first radio airplay    play certain tracks, but unless people are
creation of an innovative Twitter campaign.   and found that on each occasion he            searching for them on YouTube, you are
    Gaby Martinez, vice president,            generated more interactions. He now has       not really connecting.”
marketing, Warner Music Latin America         a total Twitter follower base of more than
& General Manager, Warner Music Latina        500,000 people.                               “People felt they were part
explains that Torres was able to harness          The whole campaign helped Torres
                                                                                             of Tommy’s story and had
Twitter to create a debate around one         break through into the mainstream music
of his songs, giving his fans a sense of      scene. His album 12 Historias debuted at       ownership over the song.”
ownership of it. “His song Querido Tommy      number one the Nielsen Soundscan Latin        — Gaby Martinez, Warner Music,
was inspired by a fan who wrote to him        chart in the US.                              Latin America
and said that he loved his girlfriend but         Gaby Martinez says it is not unusual
could not put this feeling into words and     to see Latin artists use digital channels        Despite this, Martinez believes that
asked for the artist’s help to express        to promote themselves and that whole          digital channels tend to follow market
himself. He launched a campaign on            market for Latin music is increasingly        trends, not lead them. “Yes we’re signing
Twitter to ask his fans if he should help     evolving in terms of revenue generation.      more urban Latin artists these days, and
this man express his feelings to his          “In the US, we see younger urban Latin        they perform well on digital channels, but
girlfriend.”                                  artists generating more interest through      the trend towards such performers was
    Torres generated more than 3,000          digital channels, while traditional Latin     happening anyway. Digital is reflecting
interactions in this online debate and        Country artists tend to have more of a        the market. While we see new platforms
then posted his song on Twitter before it     bias towards physical sales. In Mexico, the   come into the market and more diversified
was released to radio stations for airplay.   market is split almost 50:50, as iTunes       revenues are starting to come in, our key
WMG promoted the campaign across              has proved extremely successful in a          job is still to scour the market for talent
its online properties, generating extra       country where it can price its music in       and sign the best artists we can.”
attention from music fans. Other stars,       local currency. Other markets, including
such as Ricky Martin and Alejandro Sanz,      Torres’ native Puerto Rico, are still more
retweeted his messages.                       dominated by physical sales.”




32
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 34 of 49 PageID# 1947




       YeARs hAve pAssed,
    And nothing’s the sAMe
    but You’Re the one thing
      thAt ALwAYs ReMAins

    www.MusicReMains.oRg


            Music ReMains — A 90-second race through time filmed at London’s
            world-famous Abbey Road studios, Music Remains is a celebration of recorded
            music at the centre of people’s lives.
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 35 of 49 PageID# 1948

sweden




A market
A market
transformed
transformed
A return to growth                            A continuous                                 “Ten years ago, the vast



T
           he Swedish music industry          revenue stream                                majority of our revenue
           has a seen an encouraging          The subscription revolution has changed       came from a smaller number
           revival in just three years,       the way rights holders are paid, with
           from a low of US$144.8 million     artists whose music is continuously
                                                                                            of artists.”
in 2008, revenues grew to US$194.2            listened to on Spotify benefiting from a     — Jacob Herbst, Sony Music Entertainment
million in 2013. During the same period,      constant revenue stream. Jacob Key, vice
digital’s share of total revenues increased   president, digital strategy and business         Subscription services have also
from 8 per cent to 70 per cent, with          development, Europe, Warner Music,           removed a barrier to music discovery.
subscription services accounting for          says: “Repertoire can now make more          Jacob Herbst, head of digital sales and
94 per cent of the digital market.            money over a longer period of time.          business development (Sweden), Sony
    The turnaround dates back to 2009         The consumption model enables a much         Music Entertainment, says: “The barrier
when the combined effect of The Pirate        longer product life cycle, and generates     to listen to a new artist is lower than it
Bay trial and a new anti-piracy law           more revenues over time for most artists.”   was when you had to buy their album.
persuaded many consumers to try the                                                        We now pay out royalties to more artists
new Spotify service. Many preferred           “If you look at business models              now than ever before. Ten years ago, the
streaming to illegally downloading music.                                                  vast majority of our revenue came from a
                                               over 20 years, you have the
Streaming and subscription has helped                                                      smaller number of artists.”
migrate music consumption from piracy          potential to get much more
to the licensed environment. Consumer          revenue with streaming.”                    Growing diversity
research published by GfK in September
                                              — Jacob Key, Warner Music
2013 showed that nine out of 10 paying                                                     New artists have benefited from the
subscribers to Spotify say they download      Per Sundin cites Lars Winnerbäck, one of     younger audience that streaming attracts.
illegally “less often”; seven of 10 of the    the top-selling Swedish artists over many    Label executive say streaming users
service’s free users say the same.            years. “He has remained in the Spotify       are younger and that is having an effect
    Spotify’s success was also boosted        top ten for years without releasing a        on A&R. Urban music and electronic
by a partnership with telcoms firm Telia,     new album. His management thinks that        dance music consistently ‘over index’ on
whose bundled deal offered customers          Spotify is fantastic.”                       streaming services, which means that
three months’ free access to the service.        Another Swedish artist, DJ John de        record companies are striving to sign
The majority continued to pay afterwards.     Sohn, has had four hit singles, the latest   more artists performing in these genres.
Having benefited from reduced churn,          being Taking It Back, and is considered a    Per Sundin says: “Streaming is the most
Telia later rolled out the deal across        ‘Spotify phenomenon’. He says: “Streaming    democratic tool we have ever been part
Scandinavia.                                  services have been a key part of reaching    of. The range of artists being listened to is
                                              a new audience with my music. My last        wider. Swedish hip-hop artists are making
“For recorded music,                          three singles have accumulated over          money again. We’ve been able to invest in
                                              30 million streams in Sweden, and Spotify    them because of Spotify.”
 streaming is by far the biggest
                                              has been an instrumental part of building
 revenue source for me.”                      my artist brand and live business. For
— DJ John de Sohn                             recorded music, streaming is by far the
                                              biggest revenue source for me.”



34
John de Sohn photo by Gustav Modér Wiking
                                            Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 36 of 49 PageID# 1949




                                                                          89%
                                                                          89%
                                                                   of spotify subscribers
                                                                                                                                        34%
                                                                                                                                        34%
                                                                                                                                         overall market
                                                                download illegally less often                                           growth 2008–2013




                                                Dance music, too, leans towards digital.   for Gold and Platinum awards after more
                                            Jonas Sjöström is CEO of Playground            than 10 years of bringing them down.
                                            Music Scandinavia AB, an independent           And even with that, we are giving away
                                            record company which owns the digital-         more Gold and Platinum awards than for
                                            only dance label Uniform Beat, home to         many years.”
                                            artists such as Adam Rickfors. He says:
                                            “The entire dance market is 98 per cent
                                                                                           What next in Sweden?
                                            digital. It means we can sell music
                                            globally without licensing deals and no        Few in the industry think the evolution
                                            manufacturing costs, but we still have to      of the Swedish market is over. The focus
                                            promote it everywhere and pay for the          now is on how streaming is benefiting
                                            local expertise to do that.”                   A&R and marketing. Per Sundin of
                                                                                           Universal says: “We have seen the
                                                                                           consumption revolution, but now we’re
                                            “Streaming is the most                         seeing radical changes in A&R and
                                             democratic tool we have                       marketing as record companies adapt to
                                             ever been part of”                            a changed environment.” Jacob Key cites
                                                                                           singer Robyn, who launched three mini-
                                            — Per Sundin, Universal
                                                                                           albums with several singles, promoting
                                                                                           them over 18 months before releasing her
                                                Subscription services have paved the
                                                                                           album. “Marketing strategies are changing.
                                            way for the rise of the playlist. Jacob
                                                                                           You need to keep investing for two,
                                            Herbst of Sony says: “We built a strategy
                                                                                           three or four years to get people to keep
                                            around playlists that evolved into the Filtr
                                                                                           listening to an album.”
                                            brand. It’s all about building up the label
                                                                                               Digital services themselves continue
                                            as a trustworthy source of music. Labels
                                                                                           to evolve. WiMP has become the first
                                            now run large above-the-line advertising
                                                                                           streaming service to launch a super
                                            campaigns promoting playlist brands.”
                                                                                           premium service with higher audio quality
                                                IFPI Sweden has changed its charts to
                                                                                           and others are talking about new deals
                                            include streaming, also bringing it into its
                                                                                           such as family packages. Meanwhile, a
                                            Gold and Platinum award certifications,
                                                                                           landmark was reached in October 2013
                                            which traditionally went to artists who
                                                                                           when YouTube became monetised for the
                                            crossed a certain sales threshold. Jacob                                                       Avicii photo by Alex Wessely
                                                                                           first time in Sweden.
                                            Herbst says: “As an industry, we’re now
                                            increasing the number of units required



                                                                                                                                                                          35
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 37 of 49 PageID# 1950

china




New hopes
New  hopes
for a
for a licensed
      licensed
music market
music  market


C
           hina is a market of enormous         Moving to the paid model                     the low share of revenues going of
           potential, long stifled by piracy.                                                music rights holders in China as a key
                                                The government is providing more vocal
           Ranked just 21st in the world,                                                    barrier to development of the sector.
                                                support for the paid model. Vice Minister
           2013 revenues were estimated                                                      A study published by CMIC in 2012
                                                Yan Xiaohong of the National Copyright
at US$82.6 million.                                                                          estimated the total value of the digital
                                                Administration of China (NCAC) says:
     Yet the landscape for the music                                                         music sector in China at RMB30 billion
                                                “The time for paying for music in China
industry in China is changing. Over the                                                      (US$4.9 billion), but the study estimated
                                                has already come — this is not just a
last two years, major record companies                                                       that a very small share of that revenue
                                                principle, but also a necessary practice.
and some independents have licensed                                                          (less than 3 per cent) was being shared
                                                But what is also important is that,
eight of China’s major online music                                                          with copyright holders. Songke makes
                                                whichever we choose, whether it be the
services, most of them previously                                                            comparison with China’s booming film
                                                paid or advertising-supported model, we
copyright infringing. The deals trace                                                        industry where box office returns are
                                                must make sure that rights holders are
back to a landmark agreement struck in                                                       being ploughed back for re-investment
                                                rewarded.” Independent record companies
2011 between three international record                                                      into local film productions. “Nowadays it
                                                agree. Mike Songke, vice president of
companies and internet giant Baidu, that                                                     isn’t just piracy that is our problem — we
                                                the CMIC, the organisation representing
involved the settlement of anti-piracy                                                       have to get a fairer distribution system
                                                local Chinese labels, says a paid model
litigation and a commitment by Baidu to                                                      that motivates our industry, just like in the
                                                will encourage investment in local artists
close its infringing ‘deep links’ service.                                                   film industry.”
                                                and help develop a thriving Chinese music
The opportunity for the music industry
                                                business.
lies in China’s vast internet population,
                                                                                             “We have to get a fairer
with 618 million users in 2013, with
                                                “The time for paying for                      distribution system that
81 per cent connected to mobile.
     Sunny Chang, president, Greater China,      music in China has already                   motivates our industry, just
Universal Music Group International, says:       come — this is not just                      like in the film industry.”
“The Baidu deal was a trigger that led
to other internet companies changing
                                                 a principle, but also a                     — Mike Songke, CMIC
their approach and becoming licensed.            necessary practice.”
We believe that in three to five years the                                                       China’s licensed digital services are
                                                — Vice Minister Yan Xiaohong, NCAC
market will be open and China could be                                                       fast-evolving, with some expectations of
one of the top markets in the world.”           There are challenges ahead, however.         consolidation in the sector at the time
                                                Along with competition from hundreds         of this report’s publication. One of the
                                                of unlicensed services, CMIC sees            leading services that run a paid offering



36
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 38 of 49 PageID# 1951




21
21
world ranking
music market




618M
618M
active internet users in 2013




500M
500M
mobile web users


                                                                                                        Fan Fan courtesy of Linfair Records




alongside its free streaming service is        Liu Yu Xing, assistant of the general          to run a record company. The good news
Kuwo. CEO Lei Ming, says: “In China the        manager of China Mobile Music Base, says:      is that we know that the platforms want
majority of people now use legal music         “It is not just recording companies and        to have paid services, and the government
— that’s a very good environment to be         musicians in China who want to get to this     recognises that too. The interests of
in, but the big question is how can we         paid-for model — it is the objective of the    the music industry and the internet
transfer consumers from free to paid, and      operators too.”                                companies are aligned.”
how to do that without pushing users to             Record companies also want to step
illegal sites?” Another leading service is     up artist development in mainland China.
                                                                                              Tackling piracy
Tencent, which has amassed three million       In the short term this is a challenging
paying subscribers for its subscription        task due both to undeveloped production        Record companies and digital services
service Green Diamond. Pursuing a              facilities and to regulations limiting non-    agree on the critical continued role
different strategy is Baidu, China’s largest   Chinese investment both in production          of copyright enforcement in turning
search engine. Baidu offers a free music       and in distribution of music.                  around the Chinese market. Following
streaming service and, in addition, a paid-         In the absence of a developed market      the licensing deals that some repertoire
for tier offering expanded cloud storage       for sales of recordings or performance         owners have struck with the major digital
space and high quality larger files. As with   rights, labels working in China rely heavily   platforms, the government now has a
Kuwo, the vast majority of Baidu’s users       on management and live performance             vital part to play in tackling the thousands
choose the free-to-consumer option.            income. Most big-selling artists are           of remaining small and medium sized
Kaiser Kuo, director of international          developed out of Taiwan, dubbed the            infringing sites.
communications, says: “Baidu has an            ‘Hollywood’ of the region. One of the              NCAC Vice Minister Yan Xiaohong
ad-funded model and our core strategy          leading indies active in China is Taiwan-      says the government has stepped
is based on online advertising and             based Linfair Records. The label’s top         up actions both in enforcement and
dominating at consumers’ main points of        artists include Fan Fan, a judge on China’s    promoting consumer awareness of
entry to the internet.”                        growing and influential TV talent shows,       intellectual property rights. “Nine years
    The largest digital service is China       and Yu Chen Ching (Harlem), a Taiwanese        ago when I started in this role, we were
Mobile, with 700 million users in total        singer who is the label’s top male artist.     talking about copyright theoretically
and 50 million active paying ringback               Linfair Records chairman Denver           but since then dramatic changes have
tone customers. In addition, there are         Chang says that CD sales and                   happened. Criminal penalties for copyright
20 million paying subscribers to the           management income cannot be the long           infringement have been strengthened
operator’s subscription and limited-           term future for record companies in            and enforcement against illegal sites
download music service, Migu Music.            China: “The paid model is the foundation       intensified.”


                                                                                                                                              37
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 39 of 49 PageID# 1952

africa




Emerging
Emerging
opportunity
opportunity

D
           espite its huge influence on       developed. Ulrik Cahn, VP digital business         International services such as Deezer,
           music repertoire across the        emerging markets, Universal Music Group,       iTunes, Simfy and YouTube are now also
           globe, most countries in Africa    says: “You can really feel that something      operating across the continent, and while
           have not historically been         impressive is happening with digital music     they are still small compared to the telcos,
significant markets for the international     in Africa now. Two years ago, the digital      insiders estimate iTunes now accounts
music industry. Today, that is beginning      business was almost all ringtones, today       for 40 to 50 per cent of digital revenues
to change. Digital technology is enabling     products and services are taking off and       in South Africa. Other established local
the recording industry to effectively reach   interest from our global partners in the       services include Spinlet and iRoking in
mass numbers of consumers across Africa       continent is greater than it has ever been.”   Nigeria and Mdundo in Kenya.
for the first time. Across the continent,                                                        THE KLEEK, a pan-African mobile
international record companies are                                                           music streaming service, backed by
                                              “You can really feel that
working to establish innovative services                                                     Universal Music and electronics giant
and invest in A&R.                             something impressive is                       Samsung, and licensed by Sony Music,
    Africa’s economies are growing             happening with digital music                  launched in March 2013. THE KLEEK offers
rapidly and smartphone penetration,                                                          an interactive voice response service as
though small, is soaring. The International
                                               in Africa now.”                               well as an app featuring a huge range
Telecoms Union reported in March 2013         — Ulrik Cahn, Universal Music Group            of playlists. The app is preloaded on
that mobile broadband penetration                                                            Samsung smartphones whose owners can
in Sub-Saharan Africa increased from              Africa already had a domestic digital      use it free of charge. Randall Abrahams,
2 per cent in 2010 to 11 per cent in 2013.    music business, partnered with leading         managing director, Universal Music South
Sean Watson, managing director of Sony        regional and national telco operators.         and sub-Saharan Africa, says: “Music fans
Music Entertainment Africa, says: “The        These include MTN Nigeria, with 17 million     in Africa have never had access to such a
forecasts for smartphone growth in Africa     subscribers, and Safaricom, with 10 million    rich and engaging licensed service before,
over the next few years are staggering.”      subscribers, have helped build a sizeable      THE KLEEK marks a sea change in the
                                              ringback tone market. International record     development of the digital market in
“The forecasts for                            companies are establishing strong local        the region.”
                                              direct relationships with local partners           Guillaume Quelet, VP, digital business
 smartphone growth in
                                              — telcos, aggregators, local services,         development, Sony Music Entertainment,
 Africa over the next few                     publishing societies and independent           who looks after three Francophone
 years are staggering.”                       labels. Digital revenues to international      markets in North Africa, says partnerships
                                              companies in Africa are currently small        with mobile carriers are key. “It’s
— Sean Watson, Sony Music
                                              but fast-growing: South Africa, the            about creating services that appeal to
Entertainment Africa
                                              region’s largest market has seen digital       consumers in pre-paid markets who often
                                              music revenues take off in 2013 following      have limited disposable incomes. I think
Digital services are                          the arrival of iTunes and several music        there will soon be exciting new deals that
being established                             streaming services, such as Deezer, rara       will also include unusual features such as
                                              and Simfy. Digital revenues doubled in the     live tours.”
International services are opening for
                                              year, accounting for 14 per cent of a total
business, domestic platforms are growing
                                              market worth US$63 million.
stronger and new services are being




38
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 40 of 49 PageID# 1953


                   mobile broadband penetration
                       in subsaharan africa




           2%
           2%    2010
                                                        11%
                                                        11%       2013




                                                                                  Xtatic photo by Erik Foster




Expanding A&R activity
Record companies are increasing their
A&R activity across the region. Sean
Watson says: “Sony Music Entertainment
has already made a significant investment
in the development of the phenomenal
talent in Sub-Saharan Africa and we are
committed to continuing to partner with
African artists to endeavour to bring their
music not only to the world, but to African
music lovers across their own continent.”
Recent signings by Sony Music include
Nigerian artist D’Banj and Rose Muhando,
a Tanzanian gospel artist. Exciting, new
young artists include Ugandan style icon
Keko; and Kenyan rapper and singer-
songwriter Xtatic.
    Randall Abrahams of Universal says:
“We’re engaging with artists across
sub-Saharan Africa and in particular with
independent labels and entrepreneurs
as they are at the cutting edge of artist
development in the region. We have a




                                                 107%
                                                 107%
significant long-term commitment to
investing in African artists and taking
them beyond the continent to an
international audience. Universal’s labels
have long invested in African music and
are home to artists such as South African       digital music growth in
superstar Zahara, Joey B and Shatta Wale          south africa (2013)
from Ghana, MadTraxx and Necessary
Noize from Kenya and Mozambican artist
Lizha James with tracks produced by
rising South African star Uhuru.
    Guillaume Quelet says he is also
investing in local artists. “Many French
urban artists have roots in North Africa
and are hugely popular, but we are also
looking to develop more local talent.”




                                              Keko photo by Bicepts Photography                                 39
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 41 of 49 PageID# 1954




Improving the
          the
environment for
environment   for
digital music
digital music

     T
                he music industry is a business whose success          Consumer attitudes to piracy
                depends on certainty in the legal environment
                                                                       It is not just music rights holders who believe that
                and on copyright law. This is a constant and
                                                                       intermediaries have responsibilities to tackle piracy.
                ever-changing challenge — the music market
                                                                       Consumers believe this too. According to research from
     internationally continues to be distorted by unfair competition
                                                                       Ipsos MediaCT across ten countries, more than half of all
     from unlicensed services.
                                                                       internet users think search engines should prioritise licensed
         IFPI estimates, based on comScore/Nielsen data, that
                                                                       services in search results, a proportion that increases to
     26 per cent of internet users worldwide regularly access
                                                                       57 per cent among those who use unlicensed services.
     unlicensed services. This estimate applies only to desktop-
                                                                       A similar proportion of internet users (52 per cent) think
     based devices: it does not include the emerging, but as yet
                                                                       that companies should not advertise on unlicensed services,
     unquantified, threat of smartphone and tablet-based mobile
                                                                       a figure that increases to 55 per cent of those who use
     piracy as consumers migrate to those devices.
                                                                       unlicensed sites.
         Digital piracy is the biggest single threat to the
     development of the licensed music sector and to investment
                                                                       Figure 12: Consumers agree that intermediaries should . . .
     in artists. It undermines the licensed music business across
     many forms and channels —    ­ unlicensed streaming websites,     Search engines should give priority to licensed digital music services
     peer-to-peer (P2P) file-sharing networks, cyberlockers and        over pirate services in their search results
     aggregators, unlicensed streaming and stream ripping and                                                     55%
     mobile applications.
         The industry is responding not with a single strategy, but                                                 57%
     with a comprehensive, multi-pronged approach. It includes:
     consumer education on copyright and the value of music;           Accessing music through services that don’t have the copyright owner’s
     working with law enforcement agencies to tackle online            permission is unfair to those creating and producing the content
     piracy; litigation against online pirate services; and engaging
                                                                                                                  55%
     with policymakers and legislators worldwide to create an
     environment in which the music sector can grow. The industry                                                 55%
     is also working with online stores to remove infringing apps
     and to ensure that apps cannot access illegal websites.
                                                                       Companies should not advertise on websites that offer music without
         The industry believes all parties in the digital economy      the copyright owner’s permission
     have a responsibility to support legitimate digital commerce
     and help tackle piracy in all its forms. Record companies are                                              52%
     working with advertisers, domain registrars, internet service
     providers (ISPs), payment providers and search engines
                                                                                                                  55%
     to achieve this goal. Courts around the world are finding
                                                                         All internet users     Pirate users
     that the law also requires greater cooperation from online
     intermediaries.                                                   Source: Ipsos MediaCT




40
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 42 of 49 PageID# 1955


 Website blocking proves effective                                       vKontakte: Stifling a licensed
 Actions by ISPs have become a widely-accepted and effective             business in Russia
 way of curbing piracy online. Increasingly common is the blocking
                                                                         Russia is a vast potential market stifled by rampant
 of websites that make available infringing content. In recent
                                                                         copyright infringement. At the centre of the Russian
 years, courts in 10 EU countries have ordered ISPs to block users’
                                                                         music scene is vKontakte, the country’s dominant
 access to specific services that structurally infringe copyright
                                                                         online social network and its largest distributor
 law. Courts and authorities in other countries including India,
                                                                         of music. vKontatke operates an unlicensed music
 Indonesia, Malaysia, Mexico, Norway, South Korea and Turkey
                                                                         service allows users to upload and store music and
 have made similar orders. On the legislative front, in 2013, Norway
                                                                         video files, which then become available for all other
 adopted new website blocking legislation and Italy became the
                                                                         users of the service to search and stream.
 first country in Europe where an administrative body — the Italian
                                                                             vKontakte is providing access to tens of
 communications authority AGCOM — is empowered to authorise
                                                                         thousands of the most popular songs by local and
 website blocking.
                                                                         interntional artists. This is damaging the licensed
                                                                         business and preventing investment in Russia’s
                      bit torrent use




                  -11%
                                                                         music sector. Searches for the Top 20 Billboard




                  -11%
                                                                         singles, the Top 20 UK singles and the Top 20
                                                                         Russian singles generates thousands of results for
                                                                         most tracks.
                                                                             In February 2014, the scale and harmful impact
                                                                         of vKontakte’s music service was illuminated by the
                 in eu countries with                                    US Trade Representative (USTR) in its “Notorious
                   website blocking                                      Markets list”, a respected barometer of respect
                                                                         for copyright in countries around the world. For




                +15%
                                                                         the fourth year in a row, the Russian internet




                +15%
                                                                         giant was included for its record on copyright
                                                                         infringement. The US government report says:
                                                                         vKontakte’s business model “appears to include
                                                                         enabling the unauthorized reproduction and
                                                                         distribution, including streaming, of music and other
                     in eu countries                                     content through the site and associated software
                     without blocks                                      applications.”




                                                                                 55M
     Despite misrepresentation by some anti-copyright




                                                                                 55M
 campaigners, courts have consistently found that the blocking
 of sites providing illegal content achieves an appropriate balance
 of fundamental rights. In November 2013, the Advocate General
 at the Court of Justice of the European Union said that website
 blocking is available under EU law.
     Website blocking measures implemented by ISPs have been                        average daily users
 effective. Between January 2012 and July 2013, European                               OF VKONTAKTE
 countries where blocking orders are in place saw BitTorrent use
 decline by 11 per cent, while European countries without such
 orders saw BitTorrent use increase by 15 per cent (comScore/
 Nielsen). The effect was especially pronounced in two countries,
 Italy and the UK, where the highest number of illegal services have
 been blocked. In Italy, BitTorrent traffic declined by 13 per cent in
 2013 and in the UK BitTorrent traffic declined by 20 per cent over
 the same period. The industry believes that website blocking is an
 effective tool to help tackle digital piracy and should be available
 in more countries worldwide. It also needs to be extended to
 cover mobile networks.
     Additionally, rights holders work with ISPs on notification
 programmes aimed at educating users about the value of
 copyright. Such schemes exist in Chile, France, Ireland, New
 Zealand, South Korea and the US. Account holders are notified
 that their account is being used unlawfully, with the possibility of
 deterrent consequences such as fines if warnings are repeatedly
 ignored. These programmes have proven effective where




                                                                                                                            41
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 43 of 49 PageID# 1956


implemented, with use of unlicensed P2P networks declining by         pirate sites. In 2013, a successful pilot study was carried out by
27 per cent since September 2010 in France (Nielsen) and by 19        technology company White Bullet on behalf of the police. The
per cent since August 2011 in New Zealand (comScore).                 project led to a fall in the number of mainstream ads appearing
                                                                      on such sites. This success has led to the police launching a
                                                                      permanent programme in 2014.
Stopping payments to pirate services
The music industry’s anti-piracy work with payment providers,
                                                                      Search engines still have more to do
leading to the withdrawal of payment services to infringing sites,
has been a positive example of successful cooperation. Since          Search engines have pledged to do more to tackle online
2011, leading international providers such as American Express,       piracy, but there is still a long way to go. In August 2012, Google
MasterCard, PayPal and Visa have been responding to action            announced that it was altering its algorithm to take account of
by rights holders and the City of London Police to ensure their       notices received from rights holders to place infringing sites
services are not abused by illegal businesses wherever they           lower down in search results.




                                                                                            74%
operate (see box opposite).


Cutting off advertising revenue
Advertising is a major source of income for many online pirate
services worldwide. In February 2014, the Digital Citizens Alliance
published research conducted by MediaLink which showed 596
                                                                                            74%
                                                                              consumers introduced to pirate
infringing sites generated US$227 million in advertising revenues                services through search
in 2013, with adverts appearing from blue chip brands including
AT&T, Lego and Toyota.                                                    Unfortunately, this seems to have had little impact. A search
    Rights holders are working on the issue with the advertising      for the name of any leading artist followed by the term ‘mp3’ in
industry and intermediaries in all possible ways available to them.   the leading search engines still returns a vast proportion of illegal
Advertisers recognise that the appearance of their branding on        links on the first page of results.
pirate sites can be damaging for their reputation. However, many          Search engines continue to be a major gateway to pirate
brands do not know or cannot control where their advertising is       content. In September 2013, a MillwardBrown Digital study
being placed, and there can be several intermediaries between         for the Motion Picture Association of America revealed that
the brand and the websites on which their advert appears.             between 2010 and 2012, almost three-quarters of consumers
                                                                      (74 per cent) said they used search engines as a discovery or




          227m
          227m
                                                                      navigational tool when first using unlicensed services.


                                                                      Infringing links dominate search results
                                                                      Although rights holders are able to submit requests to remove
                                                                      infringing content to Google and other search engines, the
              (US$) pirate sites’
                                                                      number of requests accepted is capped and so rights holders are
        estimated ad revenues in 2013
                                                                      only able to report a fraction of the infringing links available.
                                                                          For instance, by January 2014, the global recording industry
    The advertising industry is engaged on this issue in a number     had sent more than 100 million requests to Google to remove
of countries. In Australia, Music Rights Australia (MRA) is working   links to infringing content, an amount that would have been
with the Audited Media Association of Australia (AMAA) to raise
awareness of the damage ad-supported pirate sites have on the
creative industries and develop a code to stop the placement of
                                                                      Figure 13: Infringing links on the first page of search results by
advertising on known sites associated with piracy. “We recognise
                                                                      artist name and ‘mp3’
this is an issue that needs to be tackled. Brands don’t want to
appear on inappropriate sites and that is why we are working          Artist                                      Google Yahoo!                Bing
closely with rights holders to ensure we have a strategic solution
for all,” says Paul Dovas, CEO of AMAA. Discussions are also at       Pharrell Williams                                80%          90%        80%
various stages in other countries including Italy and Mexico.
                                                                      Katy Perry                                     100%           80%        80%
    In the UK, rights holders and advertising bodies are working
with the City of London Police (PIPCU) to reduce adverts on           Jason Derulo                                     80%          90%        90%
                                                                      John Legend                                    100%           70%        80%
“This is an issue that needs to be tackled.
                                                                      Beyoncé                                          90%          90%        90%
 Brands don’t want to appear on
 inappropriate sites”                                                 Source: IFPI Top five artists in the Billboard Top 100, 8th March 2014

­— Paul Dovas, AMAA




42
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 44 of 49 PageID# 1957


considerably higher were it not for the cap on the number of        UK’s City of London Police:
requests that Google imposes on individual rights holder groups.    Tackling crime online
    While Google has taken some steps to develop licensed
services and improve its reaction to anti-piracy notices            In the UK, the City of London Police has played a
from rights holders, the music industry believes it has the         key role in tackling international organised crime
technological expertise to do more. In January 2014, IFPI           because of its location in one of the world’s leading
issued a statement calling on search engines to take a number       financial centres. It has recently established the
of measures: including fulfilling the promise to demote sites       Police Intellectual Property Crime Unit (PIPCU) to
receiving extensive numbers of piracy notices and ensuring          focus specifically on IP crime. The unit is funded by
that the “take down” of a song is effective and does not mean       the Intellectual Property Office, which is part of the
temporary removal — to be replaced two seconds later.               Department of Business, Innovation and Skills, until
    Courts are finding that the law requires search engines to do   June 2015.
more to curb piracy. In 2012 the French Supreme Court required          Britain’s strict anti-money laundering legislation
Google to eliminate terms associated with piracy from its           enables the police to seek and confiscate revenues
Autocomplete function. In November 2013, the Paris High Court       generated by criminals through illegal activity.
ordered a number of search engines, including Google, to ensure     PIPCU has worked with rights holders and payment
that links to 16 unlicensed streaming sites do not appear in        providers on an evidence-based approach that
search results regardless of whether a user specifically searched   encourages payment providers to proactively
for these websites.                                                 remove services from illegal websites.
                                                                        Following this success with payment providers,




       100M+
       100M+
                                                                    the unit also began to look at the placement of
                                                                    adverts on illegal websites. DCI Andrew Fyfe, the
                                                                    head of PIPCU, says: “Advertisers didn’t realise
                                                                    they were funding criminal enterprises, that every
                                                                    time an ad appeared revenue went to the criminal
       requests to remove infringing                                organisations behind these sites.
          links TO GOOGLE in 2014                                       “The aim was to educate the industry about
                                                                    the problem. Some people argued that piracy is
                                                                    not a serious crime and we shouldn’t spend time
                                                                    tackling it, but you don’t tackle one type of crime
Legal action against piracy                                         on the internet and exclude another. This is about
In some circumstances, the recording industry has to taken          corporate responsibility and setting the social
legal actions against large scale online piracy services.           parameters of what is acceptable online.”
    The industry has been engaged in litigation against the             PIPCU is also expanding its activities to work
operator of the BitTorrent service isoHunt, one of the largest      with domain registrars, ISPs and search engines
unauthorised BitTorrent sites in the world, with millions of        to tackle digital piracy. The borderless nature of
users and a vast catalogue of music and films. Action taken by      internet crime means that the City of London Police
the film companies in the US found the site liable for copyright    is working with law enforcement agencies around
infringement. In October 2013 the site reached a separate legal     the world on its various cases. The unit also works
settlement with the US movie industry. Action by the record         with rights holders across all creative industries,
industry is continuing.                                             as well as brand owners, to tackle a wide range of
    Action also continues to be taken against cyberlockers          intellectual property crime.
that are providing a platform for music piracy. In January 2012,
action by the FBI led to the closure of Megaupload. In Germany,
the authors’ collecting society GEMA was successful in a case
brought against Rapidshare, where the Federal Court of Justice
ordered the service to prevent further infringements of over
4,800 titles of GEMA’s repertoire. In the US, the movie industry
was successful in a case against cyberlocker Hotfile where a
court found the service liable for copyright infringements. After
agreeing to pay US$80 million damages to the film studios, the
site shut down. The industry will continue to pursue enforcement
action against the operators of other similar services. Streaming
service Grooveshark has been blocked by ISPs in Denmark and
South Korea as a result of music industry action.




                                                                                                                       43
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 45 of 49 PageID# 1958




Digital Music
Digital Music
Services
Services
Worldwide
Worldwide
The featured list of licensed digital music services appears on the Pro-Music information resource (www.pro-music.org) at the time of
the report’s publication and it is the most comprehensive directory of the world’s legal digital music services. The list numbers over 450*
licensed services in over 100 territories.




A      Afghanistan: Deezer Albania: Deezer Algeria: Deezer Andorra: Deezer, Spotify Angola: Deezer, THE KLEEK Anguilla: iTunes
       Antigua & Barbuda: Deezer, iTunes Argentina: BajáMúsica, Batanga, Cien Radios, Daily Motion, Deezer, Faro Latino, Ideas Musik,
       iTunes, Larala, Movistar, MTV, Personal, Rdio, Spotify, Ubbi Música, Xbox Music, YouTube Armenia: Deezer, iTunes Aruba: Deezer
       Australia: 7digital, Bandit.fm, Beatport, BigPond Music, Blackberry World, Deezer, Getmusic.com.au, Google Play, Guvera, iHeart
       Radio, iTunes, JB Hi Fi NOW, MOG, Music Unlimited, Nokia Mix Radio, Optus, Pandora, rara.com, Rdio, Samsung Music Hub, Songl,
       Spotify, The InSong, Vevo, VidZone, Xbox Music, YouTube Austria: 3Music, 7digital, A1 Music, AmazonMP3, Ampya, Artistxite,
       Classical.com, Deezer, DG Webshop, eMusic, Finetunes, Google Play, iTunes, Jamba, JUKE, Ladezone, Last.fm, Mediamarkt,
       Musicload, MySpace, MyVideo, Napster, Naxos, Nokia Mix Radio, Preiser, Qobuz, rara.com, Rdio, Saturn, Schlager.tv, Simfy, SMS.at,
       Soulseduction, Spotify, Telering, T-Mobile, VidZone, Weltbild, Xbox Music, YouTube, Zed Azerbaijan: Deezer, iTunes


B      Bahamas: Deezer, iTunes Bahrain: Deezer, iTunes Bangladesh: Deezer Barbados: Deezer, iTunes Belarus: Deezer, iTunes, Yandex
       Music Belgium: 7digital, Beatport, Bleep, Bloom FM, Deezer, DJTUNES, Downloadmusic, eMusic, Fnac, Google Play, iTunes, Jamba,
       Jamster, Juke, Junodownload, Legal Download, Music Unlimited, Muziekweb, MUZU.TV, Napster, Qobuz, rara.com, Rdio, Simfy,
       Skynet, Spotify, Traxsource, VidZone, Xbox Music, YouTube Belize: Binbit, Deezer, Digicel, iTunes, Movistar, YouTube Benin: Deezer
       Bermuda: Deezer, iTunes Bhutan: Deezer Bolivia: Batanga, Deezer, iTunes, Rdio, Spotify, YouTube Bosnia and Herzegovina: Deezer
       Botswana: Deezer, iTunes Brazil: Deezer, Digital Virgo, Ideas Musik, iMusica, iTunes, Kboing, Mercado da Musica, Mundo Oi, Music
       Unlimited, Nokia Mix Radio, Power Music Club (GVT), rara.com, Rdio, Samsung Music Hub, Terra Musica Powered by Napster, TIM
       Music Store, Toing, UOL Megastore, Vevo, Vivo Musica by Napster, Xbox Music, Yahoo! Musica, YouTube British Virgin Islands: Deezer,
       iTunes Brunei: Deezer, iTunes Bulgaria: 4fun, 7digital, Akazoo, Deezer, eMusic, iTunes, M.Dir.bg, Mobiltel, Spotify Burkina Faso:
       Deezer, iTunes Burundi: Deezer


C      Cambodia: Deezer, iTunes Cameroon: Deezer Canada: 7digital, Archambault, ArtistXite, AstralRadio, Bell Mobility, Blackberry Music
       Store, CBC Music, Classical Archives, Daily Motion, Deezer, eMusic, Galaxie Mobile, HMV Digital, iTunes, Mediazoic, Motime, MTV, Music
       Unlimited, Naxos, Nokia Mix Radio, Qello, rara.com, Rdio, Siren Music, Slacker, Songza, Vevo, Xbox Music, YouTube, Zik Cape Verde:
       Deezer, iTunes Cayman Islands: Deezer, iTunes Central African Republic: Deezer Chad: Deezer Chile: Batanga, Bazuca, Claro, Deezer,
       Entel-Napster, iTunes, Movistar, Portaldisc, Rdio, Spotify, YouTube China: 1ting, Baidu, China Mobile, China Telecom, Douban, Duomi,
       Kugou, Kuwo, Netease, Nokia Mix Radio, Tencent, Xiami Chinese Taipei: Emome, Far Eastone, Hami+ Music, HiNet Funplay, iNDIEVOX,
       iTunes, KKBOX, MTV, muziU, myMusic, Omusic, Spotify, Taiwan Mobile, VIBO, Vimeo, YouTube Colombia: Batanga, Binbit, Codiscos,
       Deezer, ETB Musica, Ideas Musik, iTunes, Movistar, Prodiscos – Entertainment Store, Rdio, Spotify, Tigo, YouTube Comoros: Deezer
       Costa Rica: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube Croatia: Cedeterija, Dallas Music Shop, Deezer
       Cyprus: 7digital, Deezer, eMusic, iTunes, Spotify Czech Republic: 7digital, Bontonline, Clickmusic, Deezer, eMusic, Google Play, iTunes,
       Koule, Mix_r.cz, MusicJet, O2, rara.com, Rdio, Spotify, Supraphonline, T-Music, Vodafone, YouTube


D      Democratic Republic of Congo: Deezer Denmark: BibZoom.dk, CDON, Deezer, eMusic, iTunes, M1, Music Unlimited, Napster,
       rara.com, Rdio, Shop2download, Spotify, TDC Play, VidZone, WiMP, Xbox Music, YouSeeMusik (JUKE), YouTube Djibouti: Deezer
       Dominica: Deezer, iTunes Dominican Republic: Deezer, iTunes, Rdio, Spotify


E      East Timor: Deezer Ecuador: Batanga, Binbit, Deezer, Ideas Musik, iTunes, Movistar, Rdio, Spotify, YouTube Egypt: Alamelphan, Anghamy,
       Deezer, iTunes, Mazzika Box, Yala Music, YouTube El Salvador: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube
       Equatorial Guinea: Deezer Eritrea: Deezer Estonia: 7digital, Deezer, eMusic, iTunes, muusika24.ee, rara.com, Rdio, Spotify Ethiopia: Deezer

*450 – although services are listed in every country they appear, they are only counted once in the overall figure e.g. iTunes is counted once in the figure of 450 etc.


44
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 46 of 49 PageID# 1959



F   Fiji: Deezer, iTunes Finland: 7digital, CDON, City Market CM Store, Deezer, Digianttila, eMusic, Google Play, iTunes, Musa24.fi,
    Music Unlimited, Napster, Nokia Mix Radio, NRJ Kauppa Mobile, rara.com, Rdio, Spotify, VidZone, Xbox Music, YouTube France:
    121 MusicStore, 7digital, Altermusique, AmazonMP3, Beatport, cd1d, Daily Motion, Deezer, Echopolite, eMusic, Ezic, FNAC Jukebox,
    Google Play, iTunes, Jamendo, Jazz en ligne, Last.fm, Music Unlimited, musicMe, Musicovery, MyClubbingStore, MySurround,
    Napster, Nokia Mix Radio, Qobuz, rara.com, Rdio, Samsung Music Hub, SFR Music, Spotify, Starzik, Vevo, VidZone, Virgin Mega,
    Xbox Music, YouTube, Zaoza


G   Gabon: Deezer Gambia: Deezer, iTunes Georgia: Deezer Germany: 7digital, AmazonMP3, Ampya, Artistxite, Beatport, boomkat,
    Classics Online, Clipfish, Col-legno, Deezer, digital-tunes, DJ Shop, DJTUNES, elixic.de, eMusic, e-Plus unlimited, Eventim Music,
    Finetunes, Google Play, Highresaudio, iTunes, Jamba, Juke, Junodownload, Last.fm, Linn Records, Make Music TV, Maxdome,
    Mediamarkt, Medionmusic, MTV, Music Unlimited, Musicload, MUZU.TV, MyVideo, Napster, Naxos Music Jazz Library, Nokia Mix
    Radio, O2, Putpat, Qobuz, rara.com, Rdio, Samsung Music Hub, Saturn , Schlager.tv, shop2download, Simfy, Spotify, tape.tv,
    T-Mobile, Tonspion.de, trackitdown, traxsource, Vevo, VidZone, Vodafone, Weltbild, whatpeopleplay.com, WiMP, Xbox Music, zwo3.
    net Ghana: Deezer, iTunes, THE KLEEK Greece: 7digital, Akazoo, Cosmote, Daily Motion, Deezer, eMusic, HOL Music Club, iTunes,
    Juno Download, mpGreek, MTV, MySpace, Napster, Naxos, Spotify, Vimeo, Wind, YouTube Greenland: Deezer
    Grenada: Deezer, iTunes Guatemala: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube
    Guinea: Deezer Guinea-Bissau: Deezer, iTunes Guyana: Deezer


H   Haiti: Deezer Honduras: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube Hong Kong:
    1010, 3Music, CMHK Soliton, Eolasia.com, hifitrack, iTunes, KKBOX, Moov, Musicholic, MusicOne, Newsic Daily,
    OleGoK, Qlala, rara.com, Rdio, SmarTone iN, Soliton, Spotify, YouTube Hungary: Dalok, Deezer, Google Play,
    Hungaroton, iTunes, Muzzia, rara.com, Rdio, Songo, Spotify, YouTube, Zene! 24/7


I   Iceland: 7digital, Bedroom Community, Deezer, Gogoyoko, Rdio, Spotify, Tonlist.is India: 7digital, Artist Aloud, Gaana,
    In, IndiaONE, iTunes, Meridhun, My Band, Nokia Mix Radio, Raaga, Saavn, Saregama, Smash Hits, TeluguOne Indonesia:
    Arena Musik, Deezer, Guvera, iTunes, Langit Musik, Melon Indonesia, Musikkamu, Ohdio, YouTube Iraq: Deezer Ireland: 7digital,
    ArtistXite, Bleep, Blinkbox, Deezer, eMusic, Golden Discs, Google Play, iTunes, Last.fm, Music Unlimited, MUZU.TV, MySpace,
    Napster, Nokia Mix Radio, Qobuz, rara.com, Rdio, Spotify, Vevo, VidZone, Xbox Music, YouTube Israel: iTunes, Rdio, YouTube Italy:
    7digital, AmazonMP3, Azzurra Music, Beatport, Cubomusica, Deezer, eMusic, Google Play, IBS, InnDigital, iTunes, Jamba, Juke,
    Last.fm, MP3.it, Music Unlimited, Napster, Net Music Media World, Nokia Mix Radio, Playme, rara.com, Rdio, Samsung Music Hub,
    Spotify, Vevo, Xbox Music, YouTube Ivory Coast: Deezer


J   Jamaica: Deezer, REGGAEinc Japan: Beatport, BeeTV, Best Hit J-Pop, clubDAM, Dwango, FaRao, GyaO!, ICJ, iTunes, KKBOX,
    Konami, Lismo, Listen Japan, Listen Radio, mora, mu-mo, Music Airport, Music Chef, Music Unlimited, Music.jp stream, Musing,
    MySound, Naxos, NOTTV, NTT DoCoMo Music Store, Oricon ME, Reco-Choku, Tsutaya Musico, Utapass, UULA, Xbox Music,
    YouTube Jordan: Deezer, iTunes


K   Kazakhstan: Deezer, iTunes, Yandex Music Kenya: Deezer, iTunes, Mdundo, THE KLEEK Kiribati: Deezer Kuwait: Deezer
    Kyrgyzstan: Deezer, iTunes


L   Laos: Deezer, iTunes Latvia: 7digital, Deezer, eMusic, iTunes, rara.com, Rdio, Spotify Lebanon: Deezer, iTunes Lesotho: Deezer
    Liberia: Deezer Libya: Deezer Liechtenstein: 7digital, Deezer, Google Play, Rdio, Spotify Lithuania: 7digital, Deezer, eMusic,
    iTunes, rara.com, Rdio, Spotify Luxembourg: 7digital, Deezer, eMusic, Google Play, iTunes, Napster, Qobuz, rara.com, Rdio, Spotify,
    VidZone


M   Macau: iTunes, KKBOX Macedonia: Deezer Madagascar: Deezer Malawi: Deezer Malaysia: Akazoo, Deezer, DigiMusic, Infogo,
    iTunes, KKBOX, Maxis Music Unlimited, rara.com, Rdio, Spotify, The Cube, Wowloud, YouTube Maldives: Deezer Mali: Deezer Malta:
    7digital, Deezer, eMusic, iTunes, Spotify Marshall Islands: Deezer Mauritiana: Deezer Mauritius: Deezer, iTunes Mexico: Batanga,
    Corona Music, Deezer, Entretonos Movistar, EsMas Movil, Flycell, Google Play, Ideas Musik, Ideas Telcel, iTodo, iTunes, Mientras
    Contesto de Iusacell, Mixup Digital, Movistar, Music Unlimited, Nextel , Nokia Mix Radio, rara.com, Rdio, Spotify, Terra Live Music,
    Terra TV, Xbox Music, YouTube Micronesia: Deezer, iTunes Moldova: Deezer, iTunes Monaco: Deezer, Rdio, Spotify Mongolia:
    Deezer, iTunes Montenegro: Deezer Morocco: Deezer Mozambique: Deezer, iTunes


N   Namibia: Deezer, iTunes Nauru: Deezer Nepal: Deezer, iTunes Netherlands: 7digital, Countdownload, Deezer, Downloadmusic,
    eMusic, GlandigoMusic, Google Play, iTunes, Jamba, Juke, Last.fm, legal download, Mikkimusic, MSN, MTV, Music Unlimited,
    Muziekweb, Napster, Nokia Mix Radio, Qobuz, Radio 538, rara.com, Rdio, Spotify, Talpadownloads, TuneTribe, Vevo, VidZone,
    Xbox Music, You Make Music, YouTube, zazell.nl, Ziggo Muziek New Zealand: 7digital, Amplifier, Bandit.fm, Deezer, Fishpond,
    Google Play, iHeart Radio, iTunes, Music Unlimited, MySpace, Pandora, rara.com, Rdio, Spotify, The InSong, theaudience, Vevo,
    Vodafone New Zealand, Xbox Music, YouTube Nicaragua: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube
    Niger: Deezer, iTunes Nigeria: Deezer, iRoking, iTunes, Spinlet, THE KLEEK Norway: 7digital, CDON, Deezer, iTunes, Jamba, Music
    Unlimited, Musicnodes, Musikk Online, Musikkverket & Playcom, Napster, Nokia Mix Radio, Platekompaniet, rara.com, Rdio, Spotify,
    VidZone, WiMP, Xbox Music


O   Oman: Deezer, iTunes




                                                                                                                                     45
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 47 of 49 PageID# 1960



P    Pakistan: Deezer Palau: Deezer Panama: Batanga, Binbit, Deezer, Digicel, iTunes, Movistar, Rdio, Spotify, YouTube
     Papua New Guinea: Deezer, iTunes Paraguay: Batanga, Bluecaps, Claro, Deezer, Ideas Musik, iTunes, Movistar, Personal, Rdio,
     Spotify, Tigo, YouTube Peru: Batanga, Binbit, Deezer, Ideas Musik, iTunes, Movistar, Rdio, Spotify, YouTube Philippines: Deezer,
     Globe, iTunes, OPM2Go, Smart, Spinnr, Sun, YouTube Poland: 7digital, Daily Motion, Deezer, Empik.com, eMusic, Gaude.pl, interia
     muzyka, iplay.pl, iTunes, Last.fm, Mood, MTV, Muzo, Muzodajnia, MySpace, Nokia Mix Radio, NuPlays, Onet Muzyka, Orange, Play
     The Music, Plus – Muzyka, rara.com, Rdio, Soho.pl, Spotify, T-Mobile, Tuba.pl, Vevo WiMP, wp.pl muzyka, YouTube Portugal: 7digital,
     Beatport, Deezer, eMusic, Google Play, iTunes, Jamba, Myway, Napster, Nokia Mix Radio, Optimus, Qmúsika, rara.com, Rdio, Spotify,
     VidZone, Vodafone, Xbox Music, YouTube


Q    Qatar: Deezer, iTunes




R    Republic of the Congo: Deezer Romania: 7digital, Cosmote, Deezer, Get Music, iTunes, Orange, Rimba, Trilulilu.ro, Triplu, Vodafone,
     YouTube, Zonga Russia: Beeline, ClipYou.ru, Deezer, Google Play, iTunes, iviMusic, Megafon (Trava), Muz.ru, Nokia Mix Radio, Svoy,
     Tele2, Yandex Music, YouTube, Zvooq Rwanda: Deezer


S    Saint Kitts and Nevis: Deezer, iTunes Saint Lucia: Deezer Saint Vincent and the Grenadines: Deezer Samoa: Deezer
     San Marino: Deezer Sao Tome and Principe: Deezer Saudi Arabia: Deezer, iTunes, Nokia Mix Radio Senegal: Deezer Serbia:
     Deezer Seychelles: Deezer Sierra Leone: Deezer Singapore: 7digital, Deezer, iTunes, KKBOX, M 1 Music Store, MeRadio, Nokia Mix
     Radio, rara.com, Singtel AMPed, Singtel Ideas, Spotify, Starhub Music Anywhere, YouTube Slovakia: 7digital, Deezer, eMusic, iTunes,
     MusicJet, Orange, Spotify, Telekom, YouTube Slovenia: 7digital, Deezer, eMusic, iTunes Solomon Islands: Deezer Somalia: Deezer
     South Africa: Deezer, iTunes, Lookandlisten.co.za, MTN Play, MySpace, Nokia Mix Radio, rara.com, Rdio, Simfy, THE KLEEK, Vimeo,
     YouTube South Korea: Bugs, Cyworld BGM, Daum Music, Deezer, Genie, Groovers.kr, Helume, Hyundai Card Music, MelOn, Mnet,
     Monkey3, MPION, MUV, Naver Music, Ollehmusic, Soribada, YouTube Spain: 7digital, AmazonMP3, Beatport, Blinko (Buongiorno),
     DaDa, Deezer, eMusic, Google Play, iTunes, Last.fm, Mediamarkt, Movistar, MTV, Music Unlimited, MUZU.TV, Napster, Naxos, Nokia Mix
     Radio, rara.com, Rdio, Samsung Music Hub, Spotify, Tuenti, Vevo, VidZone, Vodafone, Xbox Music, YouTube Sri Lanka: Deezer, iTunes
     Suriname: Deezer Swaziland: Deezer, iTunes Sweden: 7digital, CDON, Deezer, eClassical, eMusic, iTunes, Klicktrack, Music Unlimited,
     MySpace, Napster, Nokia Mix Radio, rara.com, Rdio, Sound Pollution, Spotify, Vimeo, WiMP, Xbox Music, YouTube Switzerland:
     7digital, Akazoo, AmazonMP3, ArtistXite, Cede.ch, Deezer, Ex Libris, Finetunes, Google Play, Hitparade.ch, iTunes, Jamster, Juke,
     Musicload, Napster, Nokia Mix Radio, Qobuz, rara.com, Rdio, Simfy, Spotify, Sunrise Joylife, VidZone, Weltbild, Xbox Music


T    Tajikistan: Deezer, iTunes Thailand: 8 tracks, AIS, BEC-Tero Music, Daily Motion, Deezer, DTAC, H Music, i-humm, iTunes, KKBOX,
     MTV, Music Combo, Music One, MySpace, Qikplay, ThinkSmart, True Digital, True MP3 Combo, Vimeo, W Club, YouTube Togo:
     Deezer Tonga: Deezer Trinidad and Tobago: Deezer, iTunes Tunisia: Deezer Turkey: Avea, Deezer, Fizy.com, iTunes, MusicClub,
     Spotify, TTnetmuzik, Turkcell, YouTube Turkmenistan: Deezer, iTunes Tuvalu: Deezer


U    UAE: Deezer, iTunes, Nokia Mix Radio Uganda: Deezer, iTunes UK: 7digital, Amazing Tunes, AmazonMP3, ArtistXite, Beatport,
     Bleep, Blinkbox, Bloom.fm, Boomkat, Classical Archives, Classical.com, Classics Online, Daily Motion, Deezer, Drum & Bass Arena,
     eMusic, Fairsharemusic, Google Play, Highresaudio, Historic Recordings, HMV Digital, Imodownload, iTunes, Jamster, Jango,
     Junodownload, last.fm, Linn Records, MixRadio (Nokia), Mobile Chilli, MSN, MTV, Music Unlimited, Musicovery, MUZU.TV, My Music
     Anywhere, MySpace, Napster, Naxos, Nectar Music Store, O2 , Orange, Play.com, Pure Music, Psonar, Qobuz, rara.com, Rdio,
     Running Trax, Sainsburys, Samsung Music Hub, Spotify, Textatrack UK, The Classical Shop, trackitdown, Traxsource, TuneTribe,
     Vevo, Vidzone, Virgin, Xbox Music, Yahoo! Music, YouTube Ukraine: Deezer, iTunes, Last.fm, MusicClub, MUZon, Yandex Music,
     YouTube United Republic of Tanzania: Deezer Uruguay: Antel Musica, Batanga, Butia, Claro, Deezer, Ideas Musik, Movistar, Rdio,
     Spotify, Tmuy, YouTube USA: 7digital, Acoustic Sounds, Alltel Wireless, AmazonMP3, AOL Radio Plus, Arkiv Music, ArtistXite,
     AT&T Wireless, Beatport, Beats Music, Blackberry World, CD Universe, ChristianBook.com, Classical Archives, Cricket, Daily
     Motion, eMusic, Free All Music, Freegal Music, Google Play, Guvera, Hastings, Hdtracks, Hulu, Insound, iOldies, iTunes, iTunes Radio,
     Liquid Spins, MetroPCS, MTV, Music Choice, Music Unlimited, MusicGivz, Muve Music, MySpace, Myxer, Nokia Mix Radio, Nokia+,
     Pro Studio Masters, Qello, rara.com, Rdio, Rhapsody, Samsung Music Hub, Slacker, Spotify, Sprint, TheOverflow, T-Mobile, Verizon
     Wireless, Vevo, Virgin, Xbox Music, Yahoo! Music, YouTube, ZUUS Uzbekistan: Deezer, iTunes


V    Vanuatu: Deezer Venezuela: Batanga, Binbit, Deezer, Digicel, Ichamo, iTunes, Movistar, Rdio, YouTube Vietnam: Deezer, iTunes




Y    Yemen: Deezer


                                                          This is a list of digital music services from around the world that appears on

Z    Zambia: Deezer Zimbabwe: Deezer, iTunes
                                                          the Pro-Music website (www.pro-music.org). Pro-Music is endorsed by an alliance
                                                          of organisations representing international record companies (majors and
                                                          independents), publishers, performing artists and musicians’ unions.

                                                          The list is compiled by IFPI based on information from its national groups at
                                                          time of publication. It does not purport to be exhaustive and IFPI cannot guarantee
                                                          its 100 per cent accuracy. Readers should consult www.pro-music.org for the most
                                                          up to date information.




46
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 48 of 49 PageID# 1961




We’ve decided
to do it
differently.
Maybe we’re
completely
wrong.

The World’s Finest Music Service
Hi-Fi Music Streaming
LossLess and HD Downloads
With much more to read and admire
                                                                                       Music is back

       Contact us! Sebastien Alexandre, Director, Legal and Business Affairs: sebastien.alexandre@qobuz.com
Case 1:18-cv-00950-PTG-JFA Document 83-6 Filed 01/23/19 Page 49 of 49 PageID# 1962




  Thank you!
  It’s been another big year for Spotify.
  Here are a few reasons why...

  ■ Over $1bn paid to rightsholders since launch
  ■ 1.5 billion playlists and counting
  ■ Now available in 55 markets

  We couldn’t have done it without you.
  Thanks from all of us at Spotify.
